Case 8-19-75516-ast Doci12_ Filed 09/25/19 Entered 09/25/19 16:26:37

Sa PRM eel Om COM el im cell mettle

 

United States Bankruptcy Court for the:

EASTERN DISTRICT OF NEW YORK

Case number (if known) Q-| oO 7 7 SSIé “ast Chapter you are filing under:

Mf Chapter 7
0 Chapter 41
DO Chapter 12

CO Chapter 13 [1 Check if this an
amended filing

 

 

 

 

Official Form 101 |
Voluntary Petition for Individuals Filing for Bankruptcy 42:17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Bo you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 7 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 7 and the other as Debtor 2. The same person must be Debtor 7 in
all of the forms.

Be as complete and accurate as possibie. !f two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.

lume identify Yourself

1... Your full name

Write the name that is on DEANNA

 

 

 

 

 

 

your government-issued First name irst name

picture identification (for

example, your driver's M

license or passport). Middle name Middle name

identification to your. «= GREEN

meeting with the trustee. Last name and Suffix (Sr., Jr., I, Il) ast name and Suffix (Sr., Jr, 1!, HID

 

 

 

2. All other names you have
used in the last & years

_Include your married or
maiden names.

 

 

3. Only the last 4 digits of
your Social Security
number or federal XXX-XX-7 335
individual Taxpayer
Identification number
{ITIN)

 

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 1
Case 8-19-75516-ast Doci12_ Filed 09/25/19 Entered 09/25/19 16:26:37

Debiort DEANNA M GREEN Case number ¢ir known}

 

 

 

4. Any business names and
Employer Identification
Numbers (EIN) youhave [| have not used any business name or EINs. C1 | have not used any business name or EINs.
used in the last 8 years

 

 

Include trade names and Business name(s} Business name(s)
doing business as names

 

 

 

 

 

 

 

 

 

 

EINs EINs
5. Where you live lf Debtor 2 lives at a different address:
20 Chestnut Street a
Islip, NY 11751-3507
Number, Street, City, State & ZIP Cede Number, Street, City, State & ZIP Code
Suffolk
County County :
If your mailing address is different from the one Kf Debtor 2's mailing address is different from yours, fill it |
above, fill it in here. Note that the court will send any in here. Note that the court will send any notices to this
notices to you at this mailing address. mailing address.
Number, P.O. Box, Street, City, State & ZIP Code Number, P.O. Box, Street, City, State & ZIP Cade
6. Why you are choosing Check one: {| Check one:
this district to file for
bankruptcy M@ Over the last 180 days before filing this petition, (1 Over the last 180 days before filing this petition, |
| have lived in this district longer than in any have lived in this district longer than in any other
other district. district.
© s{have another reason. O shave another reason.
Explain. (See 28 U.S.C. § 1408.) Expiain. (See 28 U.S.C. § 1408.)

 

 

 

 

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 2

|
|
i
i
|
1
i
Debtor 1

Case 8-19-75516-ast Doci12_ Filed 09/25/19 Entered 09/25/19 16:26:37

DEANNA M GREEN Case number (if known)

 

 

Tell the Court About Your Bankruptcy Case

 

 

 

 

 

 

 

7. The chapter of the Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Fiting for Bankruptey
Bankruptcy Code you are (Form 2010}}. Also, go to the top of page 1 and check the appropriate box.
choosing te file under :

a Chapter 7

(] Chapter 14

C1 Chapter 12

L Chapter 13

8. How you will pay the fee {J | will pay the entire fee when | file my petition. Please check with the clerk's office in your tocal court for more details
, about haw you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, or money
order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with

a pre-printed address.

[1 ‘I need te pay the fee in installments. If you choose this option, sign and attach the Application for individuals to Pay
The Filing Fee in installments (Official Form 103A}.

1 ~~ +I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
the Application to Have the Chapter 7 Filing Fee Waived (Official Farm 103B) and file it with your petition.

9. Have you filed for DO No.
bankruptcy within the
last 8 years? ves,
Eastern District of
District New York When 12/28/10 Case number 8-10-77000-ast
District When Case number
District When Case number
10. Are any bankruptcy HNo
cases pending or being
filed by aspouse whois (Yes.
not filing this case with
you, or by a business
partner, or by an
affiliate?
Debtor Relationship to you
District When Case number, if known
Debtor Relationship to you
District When Case number, if known
11. Do you rent your Hno Go to line 12.
residence? ,
O Yes. Has your landlord obtained an eviction judgment against you?

o Na. Go to line 12.

Cl Yes. Fill out /nifial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
this bankruptcy petition.

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy page 3

 
Debtor 1

Case 8-19-75516-ast Doci12_ Filed 09/25/19 Entered 09/25/19 16:26:37

DEANNA M GREEN Case number (if known)

 

Report About Any Businesses You Own as a Sole Proprietor

 

12. Are you a sole proprietor

of any ful!- or part-time
business?

A sole proprietorship is a
business you operate as
an individual, and is nota
separate legal entity such
as a corporation,
partnership, or LLC.

If you have more than one
sole proprietorship, use a
separate sheet and attach
it to this petition.

Ho. Go to Part 4.

OC Yes. Name and location of business

 

Name of business, if any

 

Number, Street, City, State & ZIP Code

Check the appropriate box to describe your business:
Health Care Business (as defined in 11 U.S.C. § £01(27A)}

Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
Stockbroker (as defined in 11 U.S.C. § 101(53A))

Commodity Broker (as defined in 11 U.S.C. § 101(6))

None of the above

OOoado

 

13.

Are you filing under
Chapter 11 of the
Bankruptcy Code and are
you a smaif business
debtor?

For a definition of smaif
business debtor, see 11
U.S.C. § 101(51D).

ff you are filing under Chapter 11, the court must know whether you are a smaif business debtor so that it can set appropriate
deaolines. if you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
in 11 U.S.C. 1116{1)(B}.

No. | am not filing under Chapter 11.

CNo. | am filing under Chapter 11, but | am NOT a small business debtor according to the definition in the Bankruptcy
Code.

O Yes. | am filing under Chapter 11 and | am a small business debtor according to the definition in the Bankruptcy Code.

 

14.

Report if You Own or Have Any Hazardous Property or Any Property That Needs immediate Attention

 

Do you own or have any
property that poses or is
alleged to pose a threat
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?

For example, do you own
perishable goods, or
livestock that must be fed,
or a building that needs
urgent repairs?

Bi No.

O] Yes.
What is the hazard?

 

If immediate attention is
needed, why is it needed?

 

Where is the property?

 

Number, Street, City, State & Zip Code

 

Official Form 101

Voluntary Petition for individuals Filing for Bankruptcy page 4

 
Case 8-19-75516-ast

Debtor! DEANNA M GREEN

[ae Explain Your Efforts to Receive a Briefing About Credit Counseling

15. Tall the court whether
you have received a Hl
briefing about credit
counseling.

The law requires that you
receive a briefing about
credit counseling before
you file for bankruptcy.

You must truthfully check [J

one of the following
choices. If you cannot do
so, you are not eligible to
file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your
creditors can begin
collection activities again.

ie

“You must check one:

| received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

l received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have
a certificate of completion.

Within 14 days after you file this bankruptcy
petition, you MUST file a copy of the certificate and
payment plan, if any.

| certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unabie to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you te file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

lam not required to receive a briefing about
credit counseling because of:

OO Incapacity.
| have a mental illness or a mental deficiency
that makes me incapable of realizing or
making rational decisions about finances.

Ol _sCODisability.
My physical disability causes me to be
unable to participate in a briefing in person,
by phone, or through the internet, even after |
reasonably tried to do so.

Ol Active duty.
lam currently on active military duty in a
military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver credit counseling with the court.

Doc 12 Filed 09/25/19 Entered 09/25/19 16:26:37

Case number (if known)

 

 
 

You must check one:

| received a briefing from an approved credit
counseling agency within the 180 days before | filed
this bankruptcy petition, and | received a certificate of
completion.

Attach a copy of the certificate and the payment plan, if
any, that you developed with the agency.

| received a briefing from an approved credit
counseling agency within the 180 days before [ filed
this bankruptcy petition, but | do not have a certificate
of completion.

Within 14 days after you file this bankruptey petition, you
MUST file a copy of the certificate and payment plan, if
any.

I certify that | asked for credit counseling services
from an approved agency, but was unable to obtain
those services during the 7 days after | made my
request, and exigent circumstances merit a 30-day
temporary waiver of the requirement.

To ask for a 30-day temporary waiver of the requirement,
attach a separate sheet explaining what efforts you made
to obtain the briefing, why you were unable to obtain it
before you filed for bankruptcy, and what exigent
circumstances required you to file this case.

Your case may be dismissed if the court is dissatisfied
with your reasons for not receiving a briefing before you
filed for bankruptcy.

if the court is satisfied with your reasons, you must still
receive a briefing within 30 days after you file. You must
file a certificate from the approved agency, along with a
copy of the payment plan you developed, if any. If you do
not do so, your case may be dismissed.

Any extension of the 30-day deadiine is granted only for
cause and is limited to a maximum of 15 days.

lam not required to receive a briefing about credit
counseling because of:

1 sIncapacity.
| have a mental illness or a mental deficiency that
makes me incapable of realizing or making rational
decisions about finances.

O_éDisability.
My physical disability causes me to be unable to
participate in a briefing in person, by phone, or
through the internet, even after | reasonably tried to
do so.

O Active duty.
Lam currently on active military duty in a military
combat zone.

If you believe you are not required to receive a briefing
about credit counseling, you must file a motion for waiver
of credit counseling with the court.

 

Official Form 101

 

Voluntary Petition for Individuals Filing for Bankruptcy page 4

 
 

 

Case 8-19-75516-ast Doci12_ Filed 09/25/19 Entered 09/25/19 16:26:37

Certificate Number: 16199-NYE-CC-033 186017

QATAR

-NYE-CC-033186017

 

 

CERTIFICATE OF COUNSELING

I CERTIFY that on July 31, 2019, at 1:06 o'clock PM EDT, Deanna Green
received from CC Advising, Inc., an agency approved pursuant to 11 U.S.C. 111
to provide credit counseling in the Eastern District of New York, an individual [or
group] briefing that complied with the provisions of 11 U.S.C. 109(h) and 111.

 

 

A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.

This counseling session was conducted by internet.

 

 

Date: July 31,2019 | ‘By: /s/Michelle Grandy for Engels Cuevas |
Name: Engels Cuevas

Title: Credit Counselor

* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. 109¢h) and 521(b). |

 

 

 

 
Case 8-19-75516-ast

Debtor 1

DEANNA M GREEN

Doc 12 Filed 09/25/19 Entered 09/25/19 16:26:37

Case number git known)

 

 

Answer These Questions for Reporting Purposes

 

16. What kind of debts do
you have?

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
individual primarily for a personal, family, or household purpose.”

11 No. Go to line 16b.

Ml Yes. Go to line 17,

16b. Are your debts primarily business debts? Susiness debts are debts that you incurred fo obtain
money for a business or investment or through the operation of the business or investment.

C1 No. Go to line 16c.
OC Yes. Go to line 17.

 

 

 

 

16c. State the type of debts you owe that are not consumer debts or business debts
17. Are you filing under CNo. !amnot filing under Chapter 7. Go to line 18.
Chapter 77
Do you estimate that ves | am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
after any exempt are paid that funds will be available to distribute to unsecured creditors?
property is excluded and
administrative expenses BNo
are paid that funds will
be available for Fl Yes
distribution to unsecured
creditors?
18. How many Creditorsdo 1.49 C 4,000-5,000 CF 25,001-50,000
you gstimate thatyou =) 50.99 C1 5001-10,000 C1 50,001-100,000
C 100-199 oO 10,001-25,000 C0 More than190,000
CF 200-999
19. How much do you CO $0 - $60,000 1 $1,000,001 - $10 million C1 $500,000,001 - $1 billion

estimate your assets to
be worth?

CO $50,001 - $100,000
$100,001 - $500,000
CF $500,001 - $1 million

OC $10,000,001 - $50 million
DC $50,000,004 - $100 million
C1 $100,000,001 - $500 million

CJ $1,000,000,001 - $10 billion
C) $10,000,000,001 - $50 billion
C] More than $50 billion

 

26. How much do you
estimate your liabilities
to be?

C1 $0 - $50,000

C1 $50,001 - $100,000
[1 $100,001 - $500,000
@ $500,001 - $1 million

C0 $1,000,001 - $10 million

1] $10,000,001 - $50 million
D1 $50,000,001 - $100 million
CO $100,000,001 - $500 million

[1] $500,000,001 - $1 billion

OC $1,000,000,001 - $10 billion
0 $10,000,000,001 - $50 billion
C1 More than $50 billion

 

Sign Below

For you

| have examined this petition, and | declare under penalty of perjury that the information provided is true and correct.

If | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
United States Code. | understand the relief available under each chapter, and | choose to proceed under Chapter 7.

if no attorney represents me and | did not pay or agree to pay someone who is not an attorney to help me fill out this
document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

! request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

1 understand making a false statement, concealing property, or obtaining maney or property by fraud in cannection with a
bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §8§ 152, 1341, 1519,

\

  
 
  

 

Stgnature of Debtor 2

Executed on

slox hav

MM ADD / ¥YYY

Executed on

 

 

MM/DD/YYYY .

 

Official Form 161

Voluntary Petition for Individuals Filing for Bankruptcy page 6

 
Debtor 1

Case 8-19-75516-ast

DEANNA M GREEN

Doc 12 Filed 09/25/19 Entered 09/25/19 16:26:37

Case number (if known}

 

 

For your attorney, if you are

represented by one

If you are not represented by
an attorney, you do not need

to file this page.

  
  

    

Sig

  
    

|, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility to proceed

nited States Code, and have explained the retief available under each chapter

ify théy | have delivered to the debtor
es dertify that | have no knowledge
x

oe «= S/O 10/4

  

(s) the notice required by 11 U.S.C. § 342(b)
after an inquiry that the information in the

 

MM/DD /YYYY

 

nature of Attdrney
cheney ARLEN SPINNE
Printed name ,
JEFFREY ARLEN SPINNER
Firm name
35 PINELAWN ROAD
SUITE 106E

MELVILLE, NY 11747-3100
Number, Streat, City, State & ZIP Code

(203) 570-6676

Contact phone

Email address

 

2205334 NY

retjcc@gmail.com

 

 

Sar number & State

 

Official Form 101

Voluntary Petition for Individuais Filing for Bankruptcy

page 7

 
Case 8-19-75516-ast Doci12_ Filed 09/25/19 Entered 09/25/19 16:26:37

Fill in this information to identify your case:

Debtor 4 DEANNA M GREEN

First Name Middle Name Last Name

 

Debtor 2
(Spouse if, filing) First Name Middle Name . Last Name

 

United States Bankruptcy Court forthe: EASTERN DISTRICT OF NEW YORK

 

Case number
(if known) 0 +Check if this is an
amended filing

 

 

 

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

 

 

Be as complete and accurate as possible. If two married pecple are filing together, both are equally responsible for supplying correct
information. Fiil out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out anew Summary and check the box at the top of this page.

[Scie OUMmmarize Your Assets

 

 

1. Schedule A/B: Property (Official Form 106A/B)

1a. Copy line 55, Total real estate, from Schedule AVB..... ec cece teeter entre tier ne taenineaeetntsnetegaee cette $ 375,000.00
1b. Copy line 62, Total personal property, from Schedule A/B.a........ ee cece ce este ete cece esses eeseseeesseeseeeererersaesesiees $ 1,522.00
1c. Copy line 63, Tofal of all property on Schedule A/B..... oe .o.e cece ceececeeeceseeeeceeeeeeeceetesecseneseetesseseecetacasseseeenennecees $ 376,522.00

Summarize Your Liabilities

 

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)

 

2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D... $ 473,451.63
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
3a. Copy the total claims from Part t (priority unsecured claims) from line 6e of Schedule E/F.....0....c eee $ 0.00
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 8j of Schedule EF... $ 224,784.34
Your total liabilities | $ 698,235.97

 

 

 

Summarize Your Income and Expenses

 

4. Schedule |: Your income (Official Form 1061}

Copy your combined monthly income from line 12 of Schedule bases cenit seated ieeidecteteradcaets $ 7,766.00

5. Schedule J: Your Expenses (Official Form 106J}

Copy your monthly expenses from line 226 Of Sche@Gule Joo... ccc cceceetecessevesuserssesceseeeeeaseeseveneussesssseese 3 8,000.00

Answer These Questions for Administrative and Statistical Records

 

6. Are you filing for bankruptcy under Chapters 7, 11, or 137
(No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

Ho Yes
7. What kind of debt do you have?

HW Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a persenal, family, or
household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

(11 Your debts are not primarily consumer debts. You have nothing te report on this part of the form. Check this box and submit this form to
the court with your other schedules.
Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2

Software Capyright (¢) 1996-2019 Best Case, LLC - www. bastease com Best Case Bankruptcy

 
Case 8-19-75516-ast Doci12_ Filed 09/25/19 Entered 09/25/19 16:26:37

Debtor! DEANNA M GREEN Case number (if known)

 

 

8. From the Statement of Your Current Monthly Income: Copy your total current monthly inceme from Official Form
122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14. $ 11,000.00

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

 

 

 

 

 

9a. Domestic support obligations (Copy line 6a.) $ 0.00

9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $ 0.00

Sc. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $ 0.00

9d. Student loans. (Copy line 6f.} 8 0.00

$e. Obligations arising out of a separation agreement or divorce that you did not report as

priority claims. (Copy line 8g.) $9.00

9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +$ 0.00

9g. Total. Add lines 9a through $f. $ 0.00
|
|
|
|
|
l
'

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2 of 2

Software Capyright (c) 1995-2019 Best Case, LLC - www.bestcase.com Best Gase Bankruptcy
Case 8-19-75516-ast Doci12_ Filed 09/25/19 Entered 09/25/19 16:26:37

Fill in this information to identify your case and this filing:

Debtor 1 DEANNA M GREEN

First Name Middle Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK

 

Case number Ol GCheek if this is an
amended filing

 

 

Official Form 106A/B |
Schedule A/B: Property 42115

 

 

In each category, separately list and describe items. List an asset oniy once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 

Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In
1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

0 Ne. Go to Part 2.

Mi ves, Where is the property?

 

 

 

 

 

 

44 What is the property? Check all that apply
20 Chestnut Street Mi Single-family home
Street address, if available, or other description O Duplex or multi-unit building
oO Condeminium or cooperative
(1 Manufactured or mobile home
. : Current value of the Current value of the
Islip NY 11751-3507 oO tand entire property? portion you own?
City State ZIP Code C1 investment property $375,000.00 $375,000.00
Ti ni
UL Timeshare Describe the nature of your ownership interest
O1 other (such as fee simple, tenancy by the entireties, or
Who has an interest in the property? Check one a life estate), if known.
C1) Debtor 1 ony Fee simple
Suffolk C1 pebtor 2 only
County C1 bebtor 4 and Debtor 2 onl
¥ oO Check if this is community property
MH Atleast one of the debtors and another (see instructians)

Other information you wish to add about this item, such as local
property identification number:

 

 

2. Add the dollar value of the portion you own for ail of your entries from Part 1, including any entries for
pages you have attached for Part 1. Write that nUMber Here... cesses ese s seen raceesnaeeresreensenmnnaeenesoriees => $375,000.00

Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 

 

 

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

HM No
LJ Yes

Official Form 106A4/B Schedule A/B: Property page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com Hast Case Bankruptcy

 
Case 8-19-75516-ast Doci12_ Filed 09/25/19 Entered 09/25/19 16:26:37

Debtor 1 DEANNA M GREEN Case number (if known}

 

4. Watercraft, aircraft, motor homes, ATVs and cther recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

Hino
OO Yes

 

5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
-_pages you have attached for Part 2. Write that number here..................... veeneeeseenseneeeeevene => $0.00

 

 

 

Describe Your Personal and Household Items

 

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

ONeo
WM Yes. Desctibe.....

 

| Assorted household goods and furnishings $1,000.00

 

 

7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
including cell phones, cameras, media players, games

MnNo
O Yes. Describe...

8. Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
other collections, memorabilia, collectibles

MNo
Cl Yes. Describe.....

9. Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks: carpentry tools;
musical instruments

MNo
OJ Yes. Describe.....

10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment

Hino
O Yes. Describe.....
11. Clothes

Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
O No

M@ Yes. Describe...

 

| Assorted clothing | $500.00

 

 

12. Jeweiry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver

Hino
EJ Yes. Describe.....
13. Non-farm animals
Examples: Dogs, cats, birds, horses

MNo
OO Yes. Describe...

Official Form 106A/B Schedule A/B: Property ‘page 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com : Besi Case Bankruptcy

 
Case 8-19-75516-ast Doci12_ Filed 09/25/19 Entered 09/25/19 16:26:37

Debtor 4 DEANNA M GREEN Case number (if known)

14. Any other personal and household items you did not already list, including any health aids you did not list
Mino

CI Yes. Give specific information...

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
for Part 3. Write that murmtber Here cscscsscesssosssssscssssesssssssecesssssseostsssseenssnsenssensn see $1,500.00

 

 

 

Describe Your Financial Assets

    

16. Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

HNo

17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
institutions. If you have multiple accounts with the same institution, list each.

@ Yes institution name:

17.1. Checking Bank of AmericaN.A. $22.00

 

 

18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

BNo

O Yes Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
joint venture

HNo

El Yes. Give specific information about them........0......
Name of entity: % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

HM No
CI Yes. Give specific information about them
Issuer name:

21. Retirement or pension accounts
Examples: interests in IRA, ERISA, Keogh, 401(k), 403{b), thrift savings accounts, or other pension or profit-sharing plans

MNo

D1 Yes. List each account separately.
Type of account: Institution name:

22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others

a No .
OO Yes. ooo. Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
Bo
] Yes... Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 536(b}(1}, 529A(b}, and 529(b}(1).

Official Form 106A/B Schedule A/B: Property page 3
Software Copyright (c) 1995-2019 Best Case, LLC - www. bestcase.com Best Gase Bankruptcy

 
Case 8-19-75516-ast Doci12_ Filed 09/25/19 Entered 09/25/19 16:26:37

 

Debtor 1 DEANNA M GREEN Case number (if known)
HNo
Ol Yes... Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
Hino
(1 Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Exampies: internet domain names, websites, proceeds from reyalties and licensing agreements

MNo
C0 Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

Mi No

C] Yes. Give specific information about them...

 

28. Tax refunds owed to you
BH No
Oi Yes. Give specific information about them, including whether you already filed the returns and the tax years.......

29, Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

Mino
CJ Yes. Give specific information...

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
benefits; unpaid loans you made to someone else

Mi No
1 Yes. Give specific information..

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

(4 No

48 Yes. Name the insurance company of each policy and list its value.
Company name: Beneficiary: Surrender or refund
value:

Liberty Mutual Jason Green $0.00

 

32. Any interest in property that is due you from someone who has died
If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
someone has died.

HNo
C1 Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

no
( Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
Mino
OJ Yes. Describe each claim.........

Official Form 106A/B , Schedule A/B: Property page 4
Software Copyright (c} 1996-2019 Best Case, LLC - www.bestcase.com Best Case Bankruptcy
Case 8-19-75516-ast Doci12_ Filed 09/25/19 Entered 09/25/19 16:26:37

Debtor 1 DEANNA M GREEN Case number (if known)

 

35. Any financial assets you did not already tist
BNo
Oo Yes. Give specific information..

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that Mummber Nete........scccssscssssesscesessnsnarserscssansnnssssserseeususeesnceunsssuscduennesessssnearsdssansddsseneeeese $22.00

 

 

 

Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 4.

 

37. Do you own or have any legal or equitable interest in any business-related property?
Wi No. Goto Parté.

C1 Yes. Go to line 38.

arias Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
IF you own or have an interest in farmland, list it in Part 1.

 

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
WE No. Go to Part 7.
0 Yes. Go to line 47.

Describe All Property You Own or Have an Interest in That You Did Not List Above

 

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

MNo
C] Yes. Give specific information.........

 

654. Add the dollar value of all of your entries from Part 7. Write that number here .............cccecceeesseessees $0.00

 

 

 

List the Totals of Each Part of this Form

 

 

 

 

 

 

55. Part 1: Total real estate, fine 2 ............ ses tecausaresuadesesesseesnnesedaneees sesesceesesegeseeseeauesecenuceeeaneseeeneeeees $375,000.00
56. Part 2: Total vehicles, line 5 $0.00

57. Part 3: Total personal and household items, line 15 , $1,500.00

58. Part 4: Total financial assets, line 36 $22.00

59. Part 5: Total business-related property, line 45 $0.00

60. Part 6: Total farm- and fishing-related property, line 52 $0.00

61. Part 7: Total other property not listed, line 54 + $0.00

62. Total personal property. Add lines 56 through 61... $1,522.00 Copy personal property total $1,522.00
63. Total of all property on Schedule A/B. Add line 55 + line 62 $376,522.00
Official Form 106A/B Schedule A/B: Property page 5

Software Copyright (c) 1986-2019 Best Case, LLC - www. bestcase.com Best Case Bankrupley

 
Case 8-19-75516-ast Doci12_ Filed 09/25/19 Entered 09/25/19 16:26:37

Fill in this information to identify your case:

 

 

 

Debtor 1 DEANNA M GREEN

First Name Middle Name Last Name
Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court forthe: EASTERN DISTRICT OF NEW YORK

 

Case number
(if known) Check if this is an
amended filing

 

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 4g

 

Be as complete and accurate as possible. if iwo married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach fo this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutcry amount.

Identify the Property You Claim as Exempt

 

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
@ You are claiming state and federal nonbankruptey exemptions. 11 U.S.C. § 522(b)(3)
CT] You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedu/e A/B that you claim as exempt, fill in the information below.

 

 

Assorted household goods and $1,000.00 $1,000.00 NYCPLR § 5205(a)(5)
furnishings ‘ ,
Line from Schedule A/B: 6.1 LI 100% of fair market value, up to

any applicable statutory limit

 

Assorted clothing $500.00 a $500.00 NYCPLR § 5205(a)(5)
Line from Schedule A/B: 11.1

 

C1 100% of fair market value, up to
any applicable statutory limit

 

Checking: Bank of AmericaN.A. $22.00 © $50.00 Debtor & Creditor Law §
Line from Schedule A/B: 17.1 283(2)
O 400% of fair market value, up to
any applicable statutory limit

 

 

Checking: Bank of AmericaN.A. $2200 $0.00 Debtor & Creditor Law §
Line from Schedule A/B: 17.1 283(2)
O 100% of fair market value, up to
any applicable statutory limit

 

 

 

Liberty Mutual $0.00 $0.00 NY Ins. Law § 3212
Beneficiary: Jason Green
Line from Schedule A/B: 31.1 C1 400% of fair market value, up to

any applicable statutory limit

 

Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www_bestcase.com Best Case Bankruptcy
Case 8-19-75516-ast Doci12_ Filed 09/25/19 Entered 09/25/19 16:26:37

Debtor1 DEANNA M GREEN

Case number (if known)

 

3. Are you claiming a homestead exemption of more than $170,350?
(Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

@ No

O Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
Cl No ,
Cl Yes

Official Form 106C Schedule C: The Property You Claim as Exempt

page 2 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com

Best Case Bankruptey

 
Case 8-19-75516-ast Doci12_ Filed 09/25/19 Entered 09/25/19 16:26:37

Fill in this information to identify your case:

Debtor 1 DEANNA M GREEN

First Name Middle Name Last Name

 

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court forthe: EASTERN DISTRICT OF NEW YORK

 

Case number
(if known) C Check if this is an
amended filing

 

 

 

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).

1. Do any creditors have claims secured by your property?

[7 No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.

Ml Yes. Fill in all of the information below.

     

    

   

 

451 63

      

allie of collateral:
$473,451.63

  

af

  

Describe the property that § cures the claim:
Creditor's Name 20 Chestnut Street Istip, NY
11751-3507 Suffolk County

 

 

. As of the date you file, the claim is: Check all that
7105 Corporate Drive ¥ im tS: Sheek anne

 

apply.
Plano, TX 75024 LI contingent
Number, Street, City, State & Zip Code D0 unliquidated
0 pisputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
CO Debtor 1 only Can agreement you made (such as mortgage or secured
CO Debter 2 only car loan)
D1 Debtor 1 and Debtor 2 only © statutory lien (such as tax tien, mechanic's lien)
i atleast one of the debtors and another C1 Judgment lien from a lawsuit
CZ Check if this claim relates to a MI other (including a rightio offset) First Mortgage
community debt
Dafe debt was incurred July 1, 2016 Last 4 digits of account number

 

    
 

     

 

ano i Column Ao tis pa $473,451.63
If this is the last page of your form, add the dollar vaiue totals from all pages.
Write that number here: $473,451 .63

 

 

 

 

 

 

Notified fora Debt hat

ian a = == z i TTF ) ar — a = aE fie

 

Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 1
Software Copyright (c} 1996-2019 Best Case, LLC - www, besicase.com Sest Case Bankruptcy

 

 
Case 8-19-75516-ast Doci12_ Filed 09/25/19 Entered 09/25/19 16:26:37

Fill in this information to identify your case:

Debtor 1 DEANNA M GREEN

First Name Middle Name Last Name

 

Debtor 2
(Spouse if, filing) First Name Middie Nama Last Name

 

United States Bankruptcy Court forthe: EASTERN DISTRICT OF NEW YORK

 

Case number
(if known) OO Check if this is an
amended filing

 

 

 

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12/15

 

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY ciaims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill if out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additionat pages, write your
name and case number (if known).

GERSEEE List All of Your PRIORITY Unsecured Claims
1. Do any creditors have priority unsecured claims against you?

 

8B No. Go to Part 2.
O ves.

List All of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?

 

7 No. You have nothing to report in this part. Submit this form to the court with your other schedules.

   

 

 

 

 

 

41 Capital One Bank N.A. Last 4 digits of account number $1,032.00
Nonpriority Crecitor's Name
1500 Capital One Drive When was the debt incurred?
Richmond, VA 23238
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
W peptor 1 only O contingent
CO) Debtor 2 only CO unliguidatea
OO Debtor 1 and Debtor 2 only 0 Disputed
CI At teast one of the debtors and another Type of NONPRIORITY unsecured claim:
CJ check if this claim is for a community C1 student loans
debt C2 Obligations arising out of a separation agreement or divorce that you did not
is the claim subject to offset? report as priority claims
Bino C] Debts to pension or profit-sharing plans, and other similar debts
O ves Ml otner Specify Credit card purchases
Official Form 106 E/F Schedule E/F. Creditors Who Have Unsecured Claims Page 1 of 9

Software Copyright (c) 1996-2019 Best Case, LLC - www. hestcase.com 55390 Best Case Bankruptcy

 

 
Case 8-19-75516-ast

Debtor! DEANNA M GREEN

Doc 12 Filed 09/25/19 Entered 09/25/19 16:26:37

Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4.2 Capital One Bank N.A. Last 4 digits of account number $1,079.00
Nonpriority Creditor's Name
1500 Capital One Drive When was the debt incurred?
Richmond, VA 23238
Number Street City State Zip Cade As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
WH Debtor 4 only C1 contingent
EF Rebtor 2 only 0 Uniiquidated
DC Bebtor 1 and Debtor 2 only 0 Disputed
D atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
(1 Check if this claim is fora community C1 student toans
debt C1 obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
no C1 Debts to pension or profit-sharing plans, and other similar debts
CO) Yes M other. Specify Credit card purchases
43 Capital One Bank NA Last 4 digits of account number $803.00
Nonpriority Creditor’s Name
1500 Capital One Drive When was the debt incurred?
Richmond, VA 23238
Nurnber Street City State Zip Code As of the dafe you file, the claim is: Check all that apply
Who incurred the debt? Check one.
Wi debior 4 only CO Contingent
0] pebior 2 only 17 unliquidated
CO Debtor 1 and Debtor 2 only oO Disputed
C1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
C check if this claim is fora community C1 Student loans
debt (J Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bo CO Debts to pension or profit-sharing plans, and other similar debts
CO Yes @ other. Specify Credit card purchases
44 Cavalry SPV | LLC Last 4 digits of accountnumber 8187 $363.72
Nonpriority Creditor’s Name :
500 Summit Lake Drive When was the debt incurred?
Suite 400
Valhalla, NY 10595
Number Street City State Zip Code As of the date you file, the claim is: Check ail that apply
Who incurred the debt? Check one,
Mf bebtor 1 only O Contingent
0 pDebiter 2 only Di uniiquidated
(] Debtor 1 and Debtor 2 only Oo Disputed
EF) at least one of the debtors and another Type of NONPRIORITY unsecured claim:
CO Check if this claim is fora community O Student loans
debt C obligations arising out of a separation agreement or divorce that you did not
‘s the claim subject to offset? report as priority claims
Mino C1 Debts to pension or profit-sharing plans, and other similar debts
O ves WM other Specify Credit card purchases, TJX/Marshall's
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 2 of 9

Software Capyright (c} 1996-2019 Best Case, LLC - www.bestcase.com

Best Case Bankrupicy

 
Case 8-19-75516-ast

Doc 12 Filed 09/25/19 Entered 09/25/19 16:26:37

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor1 DEANNA M GREEN Case number (if known)

45 Genesis Laboratory Last 4 digits of accountnumber 8075 $1,755.00
Nonpriority Creditor's Name
192 Route 35 South When was the debt incurred? 7/07/2016
Suite 202
Oakhurst, NJ 07755-2715
Number Street City State Zip Cade As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
MF bebtor 1 only oO Contingent
C] Debtor 2 only DO uniiquidated
CD Debtor 1 and Debtor 2 only OD Disputed
(J At least one of the debtors and another Type of NONPRIORITY unsecured claim:
CI Check if this claim is fora community C1 stucent loans
debt CO Obligations arising cut of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
a CD Debts to pension or profit-sharing plans, and other similar debts

No

O yes Mother. Specify Medical Bill

46 JC Penney Last 4 digits of account number $367.00
Nonpriority Crediter's Name
clo SYNCB When was the debt incurred?
PO Box 965009
Orlando, FL 32896-5009
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
Mi pebtor 1 only Oo Contingent
0 debtor 2 only D3 unliquidated
OD Debtor 1 and Debtor 2 only 0 pisputed
0 at least one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 check if this claim is fora community C1 student ioans
debt C1 Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino O Debts to pension or profit-sharing plans, and other similar debts
0 yes @ other. Specity Credit card purchases

47 Kohl's Last 4 digits of account number $613.00
Nonoriority Creditor's Name
PO Box 3115 When was the debt incurred?
Milwaukee, WI 53201
Number Street City State Zip Code As of the date you file, the claim is: Check ail that apply
Who incurred the debt? Check one.
HF pebtor 1 only oO Contingent
C1 Debtor 2 only CO unliquidated
Cl Debtor 1 and Debtor 2 only 0 pisputed
77 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
[J Check if this claim is fora community CI student loans
debt EF obligations arising out cf a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Binc DO Cebts to pension or profit-sharing plans, and other similar debts
C1 ves I other Soecity Credit card purchases

pecify
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Ciaims Page 3 of 9

Software Copyright (c}) 1996-2019 Best Case, LLC - www.bestcase.com

Best Case Bankruptcy

 
Case 8-19-75516-ast

Debtor! DEANNA M GREEN

[ze]

Doc 12 Filed 09/25/19 Entered 09/25/19 16:26:37

Case number {if known)

 

LI Anesthesia Physicians
Nonpriority Creditors Name

333 Route 25A -
Suite 225
Rocky Point, NY 11778

 

Number Street City State Zip Cade
Who incurred the debt? Check one.

I bebtor 1 only

CO Debtor 2 only

0 Debtor + and Debtor 2 only

CZ At least one of the debtors and another

CO Check if this claim is fora community
debt

Is the claim subject to offset?
a No
OC yes

 

Last 4 digits of account number $7,650.00

When was the debt incurred? 9/07/2016

 

As of the date you file, the claim is: Check all that apply

01 contingent
(3 Unliquidated

O Disputed
Type of NONPRIORITY unsecured claim:

Ci Student leans

o Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

D1 bDebis to pension or profit-sharing plans, and other similar debts

IB other. Specity Medical Bill

 

 

Li Anesthesia Physicians
Nonoriority Creditors Name

333 Route 254
Suite 225
Rocky Point, NY 11778

 

Number Street City State Zip Code
Who incurred the debt? Check one.

a Debtor 1 only

D bebter 2 cnly

O Debter 1 and Debtor 2 only

0 At leasi one of the debtors and another

O Check if this claim is for a community
debt

ts the claim subject to offset?

a No
O ves

Last 4 digits of account number $4,500.00

When was the debt incurred? 3/01/2017

 

As of the date you file, the claim is: Check all that apply

O Contingent
CO unliquidated

O Disputed
Type of NONPRIORITY unsecured claim:

C Student loans

oO Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

CO Debts to pensicn or profit-sharing plans, and other similar debts

MH other. Specity Medical Bill

 

 

 

 

 

LYNV Funding LLC

 

Nenpriority Crediter's Name
PO Box 1269
Greenville, SC 29602

 

Number Street City State Zip Code
Who incurred the debt? Check one.

HF pebtor 1 only

0) Depter 2 only

C1] Debtor 1 and Debtor 2 only

CO at teast one of the debtors and another

C] Check if this claim is fora community
debt

ts the claim subject to offset?

Mino
C1 ves

Last 4 digits of account number XXKX $3,607.00

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply

0 contingent
C1 uniiquidaied

0 bisputed
Type of NONPRIORITY unsecured claim:

Ci Student loans

Oo Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

CO Detts to pension or profit-sharing plans, and other similar debts

Ml other. Specify Credit card purchases, Credit One Bank

 

 

Official Form 106 E/F

Software Copyright (c} 1996-2019 Best Case, LLC - www.bestcase.com

Schedule E/F: Creditors Who Have Unsecured Claims Page 4 of 9

Best Case Bankruptcy

 

 
Case 8-19-75516-ast

Debtor1 DEANNA M GREEN

 

 

 

Doc 12 Filed 09/25/19 Entered 09/25/19 16:26:37

Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

41 .
1 Merrick Bank Last 4 digits of account number $1,350.00
Nonpriority Creditcr’s Name
PO Box 9201 When was the debt incurred?
Old Bethpage, NY 11804
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
@ pebtor 41 only Oo Contingent
D1 Debtor 2 only DF unliquidated
C Debtor 1 and Debtor 2 only 2 Disputed
C At east one of the debiors and another Type of NONPRIORITY unsecured claim:
CF Check if this claim is for a community C1 student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bno D Debts to pension or profit-sharing plans, and other similar debts
D yes Wi other. Specity Credit card purchases
41 - .
2 Midland Funding LLC Last 4 digits of accountnumber 6525 $538.84
Nonpriority Creditor's Name
clo MCM When was the debt incurred?
350 Camino De La Reina
Suite 100
San Diego, CA 92108
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
Wi bebtor 1 only DF contingent
0 Debtor 2 only 2] unliquidated
OC Debtor 1 and Debtor 2 only 0 Disputed |
C1] Atleast one of the debtors and another Type of NONPRIORITY unsecured claim: :
C1 check if this claim is fora community CI student loans i
debt CF obligations arising out of a separation agreement or divorce that you did nat
Is the claim subject to offset? report as priority claims
Hine C1 Betts to Pension or profit-sharing plans, and other similar debts
O Yes MI other. Speciy Credit card purchases,Old Navy
4.1 . . !
3 NY Bariatric Group Last 4 digits of account number $194,129.33
Nonpriority Creditor's Name :
125 Mineola Avenue When was the debt incurred? ;
Reslyn Heights, NY 11577 ;
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
WF bebtor 1 only qo Contingent
C1 Debtor 2 only Oo Unliquidated
D Debtor 1 and Debtor 2 only O Disputed
C1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is for a community C1 student ‘cans
debt 17 obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bno U0 Debts to pension or profit-sharing plans, and other similar debts
C1 ves WM other. Specify Medical Bill
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 6 of 9
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com Best Case Bankruptcy

 
 

 

 

Case 8-19-75516-ast

Doc 12 Filed 09/25/19 Entered 09/25/19 16:26:37

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Software Copyright (c) 1996-2078 Best Case, LLC

- www. bestcase.cam

Debter1 DEANNA M GREEN Case number (if known)
44 :
4 Portfolio Recovery Assoc Last 4 digits of account number $1,034.00
Nonpricrity Creditor's Name
120 Corporate Blvd When was the debt incurred?
Suite 1
Norfolk, VA 23502
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
Mf Debtor 4 only O Contingent
C1 pebier 2 only 0 Untiquidated
C1 Debior 1 and Debtor 2 only 1 Disputed
CO Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
OI Check if this claim is fora community O71 student ioans
debt O Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
Bo CI Debts ic pension or profit-sharing plans, and other similar debis
DO Yes MH other. Specify Credit card purchases, Comenity Bank
44 .
5 Portfolio Recovery Assoc Last 4 digits of account number $690.00
Nonpriority Creditors Narme
120 Corporate Blvd When was the debt incurred?
Suite 1
Norfolk, VA 23502
Number Street City State Zip Code As of the date you file, the claim is: Gheck all that apply
Who incurred the debt? Check one.
a Debtor 1 only oO Contingent
C1 Debtor 2 only O Unliquidated
1 debtor 1 and Debtor 2 on'y C) disputed
D1 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
CO check if this claim is for a community O1 Student ioans
debt 1 obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as oriority claims
a No C] Debis to pension or profit-sharing plans, and other similar debts
CO yes ME other. Specify Credit card purchases, Synchrony Bank
4.1 :
6 Portfolio Recovery Assoc Last 4 digits of account number $650.00
Nonpricrity Creditor's Name
120 Corporate Blvd When was the debt incurred?
Suite 1
Norfolk, VA 23502
Number Street Gity State Zip Gode As of the date you file, the claim is: Check ail that apply
Who incurred the debt? Check one.
Debtor 1 only O Contingent
DO Debtor 2 only Oo Unliquidated
CJ Debtor 1 and Debtor 2 only O Disputed
C1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 check if this claim is for a. community C1 student loans
debt Cc] Obligations arising out of a separation agreement or divorce that you did nat
Is the claim subject to offset? report as priority claims
Hino CO Debts to pension or profit-sharing plans, and other similar debits
DO yes Ml otner. Specify Credit card purchases
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 6 of 9

Best Case Bankruptcy

 
 

 

 

Case 8-19-75516-ast

Doc 12 Filed 09/25/19 Entered 09/25/19 16:26:37

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Software Copyright (c) 1996-2019 Best Case, LLC - www. bestcase.com

Debtor! DEANNA M GREEN Case number (if known)
44 . .
7 Sunrise Medical Lab Last 4 digits of accountnumber 2654 $134.40
Nonpriority Creditor's Name
250 Miller Place When was the debt incurred?
Hicksville, NY 11804
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
BF pebter 1 only Oo Contingent
DZ Debtor 2 only D7 untiquidated
CZ Debtor 1 and Debtor 2 only OD bDisputed
CZ At least one of the debtors and another Type of NONPRIORITY unsecured claim:
OC Check if this claim is fora community C1 student loans
debt CO obligations arising out of a separation agreement or divorce that you did not
is the claim subject to offset? report as priority claims
Hino D Debts to pension or profit-sharing plans, and other similar debts
Dyes Mother. Specify Medical Bill
4.4
8 Synchrony Bank Last 4 digits of accountnumber 8031 $2,440.34
Nonpriority Creditor's Name
140 Wekiva Springs Road When was the debt incurred?
Longwood, FL 32779
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
a Debtor 1 only CJ Contingent
C Debtor 2 only CO unliquidated
CO Debtor 1 and Debtor 2 only C1 Disputed
C1 At least one of the debtors and ancther Type of NONPRIORITY unsecured claim:
CJ Check if this claim is for a community Cl student loans
debt C1 Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bno CO Debts to pension or profit-sharing plans, and other similar debis
0 ves @ other. Speciry Credit card purchases, PC Richard & Son
44
9 Synchrony Bank Last 4 digits of account number 6061 $1,252.66
Nonpricrity Crediter's Name
140 Wekiva Springs Road When was the debt incurred?
Longwood, FL 32779
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
@ pebtor 1 only Oo Contingent
2) Debtor 2 only 1 unliquidated
(CO Dedtor 1 and Debtor 2 oniy O Disputed
CZ At least one of the debtors and another Type of NONPRIORITY unsecured claim:
CO Cheek if this claim is fora community C1 student icans
debt O Obligations arising out of a separation agreement or divorce that you cid not
Is the claim subject to offset? report as oriority claims
Bo D1 Debts to pension or profit-sharing plans, and other similar debts
C Yes WF other. Specity Credit card purchases, Ashley Furniture
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 7 of 9

Best Case Bankruptcy

 
Case 8-19-75516-ast

Debtor 1 DEANNA M GREEN

 

 

 

Doc 12 Filed 09/25/19 Entered 09/25/19 16:26:37

Case number (if known)

 

TD Bank USA NA

 

Nonpriority Creditor's Name

7000 Target Parkway North
MS-NCB-0464

Brooklyn Park, MN 55445

 

Number Street City State Zip Code
Who incurred the debt? Check one.

 

Last 4 digits of account number 4852 $795.08

When was the debt incurred? 6/30/2013

 

As of the date you file, the claim is: Check all that apply

a Debtor 1 only
O Debter 2 anly
O Debtor 4 and Debtor 2 only

(1 At least one of the debtors and another

C} Check if this claim is fora community

debt
Is the claim subject to offset?

Bi no
OF yes

oO Contingent
0 unliquidated

O Disputed
Type of NONPRIORITY unsecured claim:

OD Student loans

O Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

C Debts to pensicn or profit-sharing plans, and other similar debts

MI other. Specify Credit card purchases

 

 

List Others to Be Notified About a Debt That You Already Listed

 

5. Use this page only if you have others to be notified about your bankruptcy, fora debt that you already listed in Parts 1 or 2. For example, if a collection agency
is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. [f you do not have additional persons to be
notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Name and Address

Allied Interstate

7525 West Campus Road
New Albany, OH 43054-1121

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.18 of (Cheek one}: CO Part 4: Creditors with Priority Unsecured Claims

WF part 2: Creditors with Nonpnriority Unsecured Claims

Last 4 digits of account number 1192

 

Name and Address

Allied interstate

7525 West Campus Road
New Albany, OH 43054-1121

On which entry in Part 1 or Part 2 did you iist the original creditor?

Line 4.19 of (Check one): CO Part 1: Creditors with Priority Unsecured Claims
M8 part 2: Cregitors with Nonpriority Unsecured Claims
Last 4 digits of account number 2610

 

Name and Address
AMCA

4 Westchester Plaza
Suite 110

Elmsford, NY 10523

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.17 of (Cheek one): C] Part 1; Creditors with Priority Unsecured Claims

WB part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

 

Name and Address
Convergent Outsourcing
800 SW 39th Street
Suite 100

Renton, WA 98057

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.4 of (Check one): CO Part 1: Creditors with Priority Unsecured Claims

WH Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number 2051

 

Name and Address

Neil Levinbrook Esq.
Levinbrook Law Firm PC
77 Arkay Drive

Suite C1

Hauppauge, NY 11788

On which entry in Part 1 or Part 2 did you fist ihe original creditor?
Line 4.8 of (Check one): C1 Part 1: Creditors with Priority Unsecured Claims

WF part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

 

Name and Address

Savit Collection Agency

PO Box 250

East Brunswick, NJ 08816-0250

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.5 of (Check one}: 0 Part 1: Creditors with Priority Unsecured Claims

WR Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

 

Name and Address

Selip & Stytianou

Official Form 106 E/F

On which entry in Part 1 or Part 2 did you list the criginal creditor?
Line 4.20 of (Check one): CI Part 1: Creditors with Priority Unsecured Claims

Schedule E/F: Creditors Who Have Unsecured Claims

Software Copyright (c) 1996-2019 Bast Case, LLC - www.bestcase.com

Page 8 of 9

Best Case Bankruptcy

 
Case 8-19-75516-ast Doci12_ Filed 09/25/19 Entered 09/25/19 16:26:37

Debtor! DEANNA M GREEN

Case number (if known)

 

PO Box 9004
199 Crossways Park Drive
Woecdbury, NY 11797-9004

 

MF part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

 

Name and Address

Weinstein Kaplan & Cohen
1325 Franklin Avenue
Suite 210

Garden City, NY 11530

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.13 of (Check one): C1 Part 1: Creditors with Pricrity Unsecured Claims

WF Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

 

Add the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each

fype of unsecured claim.

 

 

 

 

 

 

 

 

 

 

 

 

 

6a. Domestic support obligations 6a.
6b. Taxes and certain other debts you owe the government 6b. $ 0.00
6c. Claims for death or personal injury while you were intoxicated 6c. $ 0.00
6d. Other. Add all other priority unsecured claims. Write that amount here. 6d. 0.00
Se. Totai Priority. Add lines 6a through 6d. 6e. 0.00
6f. Student loans 6f. 0.00
8g. Obligations arising out of a separation agreement or divorce that
you did not report as priority claims 6g. 0.00
6h. Debts to pension or profit-sharing plans, and other similar debts Gh. 0.00
éi. Other. Add all other nonpriority unsecured claims. Write that amount Gi.
here 224,784.34
8j. Total Nonpriority. Add lines 6f through 61. 8). 224,784.34
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 9 of 3
Software Copyright (c) 1995-2019 Best Gase, LLC - www.bestcase.com Best Case Bankrupicy

 
Case 8-19-75516-ast Doc12 Filed 09/25/19 Entered 09/25/19 16:26:37

Fill in this information to identify your case:

 

 

 

Debtor 1 DEANNA M GREEN

First Name Middle Name Last Name
Debtor 2
{Speuse if, filing) First Name Middle Name Last Name

United States Bankrupicy Court forthe: EASTERN DISTRICT OF NEW YORK

 

Case number
(if known} Check if this is an
amended filing

 

 

Official Form 106G |
Schedule G: Executory Contracts and Unexpired Leases 12115

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fiil it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?
Wl No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
C Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction baoklet for more examples of executory contracts
and unexpired leases.

 

 

 

 

 

Name

 

Number Street

 

City State ZIP Cade

 

2.2

 

Name

 

Number Street

 

City State ZIP Code
2.3

 

Name

 

 

Number Street

 

 

City State ZIP Gode
2.4 i
Name

 

 

Number Streat

 

City Slate . ZIP Code
2.5

 

Name

 

Number Street

 

City State ZIP Code

 

 

Official Form 108G Schedule G: Executory Contracts and Unexpired Leases Page 1 of 1
Software Copyright (¢) 1986-2019 Best Case, LLC - wan bestease.cam Best Case Bankruptcy
Case 8-19-75516-ast Doci12_ Filed 09/25/19 Entered 09/25/19 16:26:37

 

Fill in this information to identify your case:

 

 

Debtor 1 DEANNA M GREEN

First Name Middla Name Last Name
Debtor 2 .
(Spouse if, filing} First Name Middle Name Last Name

United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK

 

Case number
(if known} OO Check if this is an

amended filing

 

 

Official Form 106H
Schedule H: Your Codebtors 12/15

 

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

No
Byes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

Wi No. Go to line 3.
CD Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

3. in Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
in line 2 again as a codebtor only if that person is a quarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
out Column 2.

 

3.1. Jason E. Green CO Schedule D, line
20 Chestnut Street CO Schedule E/F, line
Islip, NY 11751 2 Schedule G

Bank of America N_A.

 

Official Form 106H schedule H: Your Codebtors Page 1 of f
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com Best Casa Bankruptcy

 
Case 8-19-75516-ast Doci12_ Filed 09/25/19 Entered 09/25/19 16:26:37

Fill in this information to identi

 

Debtor 1 DEANNA M GREEN

Debtor 2
(Spouse, if filing)

 

United States Bankruptcy Court forthe: EASTERN DISTRICT OF NEW YORK

Case number Check if this is:
tH knows) OC An amended filing

Oa supplement showing postpetition chapter
13 income as of the following date:

Official Form 1061 MMT DDIYYYY
Schedule I: Your Income 12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. !f you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet fo this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Describe Employment

1. Fillin your employment

 

 

 
   

 

 

 

information. : ’
If you have more than one job, Hi Employed i Employed
attach a separate page with Employment status
information about additional LI Not employed C1 Not employed
employers. . . . .
Occupation Office Manager Fire Investigator
Include parttime, seasonal, or '
self-employed work, Employer's name VinMar State of New York
or hopaiakon titappies Employer's address 1465 South Strong Avenue Office of General Services
, pies. Copiaque, NY 11726 Albany, NY 12242
How long employed there? 3 years 7 years

Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

lf you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

  

List monthly gross wages, salary, and commissions (before all payroll

 

 

 

2. deductions). If not paid monthly, calculate what the monthly wage would be. 2. $ 6,000.00 $ 5,000.00
3. Estimate and list monthly overtime pay. 3. +$ 0.00 +3 0.00
4. Calculate gross Income. Add line 2 + line 3. 4. | $ 6,000.00 $ 5,000.00

 

 

 

 

 

Official Form 1061 Schedute |: Your Income page 1

 
Case 8-19-75516-ast Doci12_ Filed 09/25/19 Entered 09/25/19 16:26:37

Debtor 1 DEANNA M GREEN Case number (if known)

 

 

 
 
     

5,000.00.

 

 

Copy line 4 here 4, ‘$ - 6,000.00

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

5. List all payroll deductions:
Sa. Tax, Medicare, and Social Security deductions 5a. § 2,084.00 $ 1,150.00
8b. Mandatory contributions for retirement ptans 5b. §$ 0.00 $ 0.00
5c. Voluntary contributions for retirement plans Sc. § 0.00 § 0.00
5d. Required repayments of retirement fund loans Sd. $ 0.00 $ 0.00
5e. Insurance Be.  $ 0.00 §$ 0.00
5f. Domestic support obligations 5h 0.00 $ 0.00
5g. Union dues 5g. §$ 0.00 §$ 0.00
5h. Other deductions. Specify: Bh.t+ § 0.00 + $ 0.00
6. Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+Sg+5h. 6 6§ 2,084.00 $ 1,150.00
7.  Galculate total monthly take-home pay. Subtract line 6 from line 4. 7. § 3,916.00 $ 3,850.00
8. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total
monthly net income. Ba. § 0.00 $ 0.00
8b. Interest and dividends Bb. § 0.00 «6$ 0.06
8c. Family support payments that you, a non-filing spouse, or a dependent
regularly receive
Include alimony, spousal support, child support, maintenance, divorce
settlement, and property settlement. Bo. «6 0.00 $ 0.00
8d. Unempioyment compensation Od. §$ 0.00 $ 0.00
8e. Social Security Be. § 0.00 «6$ 0.00
8f. Other government assistance that you regularly receive
Inciude cash assistance and the value (if known) of any non-cash assistance
that you receive, such as foad stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies.
Specify: Bf 0.00 §$ 0.00
8g. Pension or retirement income ég. §$ 0.00 6$ 0.00
8h. Other monthly income. Specify: Bh.t+ $ 0.00 + $ 0.00
§. Add all other income. Add lines 8a+8b+8c+8d+Be+8f+8g+Bh. 9. 1$ 0.00) |$ 0.00
10. Calculate monthly income. Add line 7 + line 9. 10./$ 3,916.00 | +) $ 3,850.00 | =| $ 7,766.00
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
other friends or relatives.
De not include any amounts already included in lines 2-10 or amounts that are not availabie to pay expenses listed in Schedule J.
Specify: 1. +9 0.00
12. Add the amount in the last column of line 10 te the amount in line 11. The result is the combined monthly income.

 

Write that amount on the Surmmary of Schedules and Statistical Summary of Certain Liabilities and Retated Data, if it
applies 12.| $ 7,766.00

 

 

 

Combined
monthly income
13. Do you expect an increase or decrease within the year after you file this form?

a No.
ol Yes. Explain: |

 

 

 

Official Farm 106! Schedule |: Your Income page 2
Case 8-19-75516-ast Doci12_ Filed 09/25/19 Entered 09/25/19 16:26:37

 

Fill in this information to identify your case:

 

 

 

Debtor 1 DEANNA M GREEN Check if this is:

C] An amended filing
Debtar 2 1 Asupplement showing postpetition chapter
(Spouse, if filing) 13 expenses as of the following date:
United States Sankruptcy Court for the: EASTERN DISTRICT OF NEW YORK MM /DDIYYYY

 

Case number
(if known)

 

 

Official Form 106J
Schedule J: Your Expenses 12/15

 

 

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach ancther sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

ea Describe Your Household

 

1. Is this a joint case?

Mi No. Go to line 2.
(1 Yes. Does Debtor 2 live in a separate household?

ONo
C1 Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Boyou have dependents? ([] No

 

 

 

 

Do not fist Debtor 1 and ves. Fitl out this information for Dependent’s relationship to Dependent’s Does dependent
Debtor 2. each dependent.............. Debtor 1 or Debtor 2 age live with you?
Se | =|

Do not state the C1 No
dependents names. Daughter 15 Byes

CT] No

Ol Yes

1 No

UO Yes

ONo

O Yes

3. Do your expenses include Mino

expenses of pecple other than

yourself and your dependents? UO Yes

Estimate Your Ongoing Monthly Expenses

 

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I; Your income
(Official Form 1061.)

 

4. The rental or home ownership expenses for your residence. Include first mortgage
payments and any rent for the ground or lot. 4. $ 2,800.00

 

If not included in line 4:

 

 

 

 

4a. Real estate taxes 4a. $ 0.00
4b. Property, homeowner's, or renter's insurance 4b. $ 0.00
4c. Home maintenance, repair, and upkeep expenses 4c. §$ 300.00
4d. Homeowner's association or condominium dues 4d. § 0.00
5. Additional mortgage payments for your residence, such as home equity loans 5. $ 0.00

 

Official Form 106J Scheduie J: Your Expenses page 1
Case 8-19-75516-ast Doc12_ Filed 09/25/19

Debtor! DEANNA M GREEN

 

Entered 09/25/19 16:26:37

Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

6. Utilities:
6a. Electricity, heat, natural gas 6a. $ 600.00
6b. Water, sewer, garbage collection 6b. § 200.00
fc. Telephone, cell phone, Internet, satellite, and cable services Gc. $ 450.00
6d. Other. Specify: fd. $ 0.00
7. Food and housekeeping supplies 7. $ 1,200.00
8 Childcare and children’s education costs 8. $ 6.00
9. Clothing, laundry, and dry cleaning 9. $ 500.00
10. Personal care products and services 10. $ 100.00
11. Medical and dental expenses 11. $ 200.00
12. Transportation. Include gas, maintenance, bus or train fare.
Do not include car payments. 12. $ 0.00
13. Entertainment, clubs, recreation, newspapers, magazines, and books 13. § 100.00
14. Charitable contributions and religious donations 14. $ 0.00
15. Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. Life insurance 15a. $ 40.00
15b. Health insurance 15b. $ 460.00
15c. Vehicle insurance 1c. $ §00.00
15d. Other insurance. Specify: 16d. $ 0.00
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify: 16. $ 0.00
17. Installment or lease payments:
17a, Car payments for Vehicle 1 17a. $ 550.00
17b. Car payments for Vehicle 2 17b. $ 0.00
17c. Other. Specify: 17c. § 0.00
17d. Other. Specify: 17d. §$ 0.00
18. Your payments of alimony, maintenance, and support that you did not report as
deducted from your pay on line §, Schedule I, Your Income (Official Form 106). 18. $ 9.00
19. Other payments you make to support others who do not live with you. $ 0.00
Specify: 19.
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule f: Your Income.
20a. Mortgages on other property 20a. §$ 0.00
20b. Real estate taxes 20b. $ 0.00
20c. Property, homeowner's, or renter's insurance 20c. $ 0.00
20d. Maintenance, repair, and upkeep expenses 20d. $ 0.00
20e. Homeowner's association or condominium dues 20e. § 0.00
21. Other: Specify: 21. +$ 0.00
22. Calculate your monthly expenses
22a. Add lines 4 through 21. $ 8,000.00
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 $
22c. Add line 22a and 22b. The result is your monthly expenses. $ 8,000.00
23. Calculate your monthly net income.
23a. Copy line 12 (your combined monthly income) fram Schedule |. 23a. §$ 7,766.00
23b. Copy your manthly expenses from line 22c above. 23b. -$ - $,000.00
23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net income. 23c. | $ 7234.00
24. Do you expect an increase or decrease in your expenses within the year after you file this form?
For exampie, do you expect to finish paying for your car loan within the year or do you expect your morigage payment fc increase or decrease because of a
modification to the terms of your mortgage?
Bi No.
CO Yes. | Explain here:
Official Form 106. Schedule J: Your Expenses page 2

 
Case 8-19-75516-ast Doc12. Filed 09/25/19 Entered 09/25/19 16:26:37

Fill in this information to identify your case:

 

 

 

Debtor 1 DEANNA M GREEN

First Name Middis Name Last Name
Debtor 2 :
(Spouse ff, filing} First Name Middie Name Last Name

United States Bankruptcy Court forthe: EASTERN DISTRICT OF NEW YORK

 

Case number
(if known} C1 Check if this is an
amended filing

 

 

Official Form 106Dec
Declaration About an Individual Debtor's Schedules 1245

 

if two married people are filing together, both are equally responsible for supplying correct information.
You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or

obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $260,006, or imprisonment for up to 20
years, or both, 18 U.S.C. §§ 152, 1341, 1519, and 3571,

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

m No
O Yes. Name of person Attach Bankruptcy Petition Preparer’s Notice, |
|

 

Declaration, and Signature (Official Farm 119}

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

x y Or ) ’ WI ( bei a x
A E Signature of Debtor 2

Signature of Debtor 4

N
Date 8) 0 20/ g Date

 

 

 

 

Official Form 106Dec Declaration About an Individual Debtor's Schedules

Software Copyright (c} 1986-2019 Best Case, LLC - www. bestease.com Best Case Bankruptcy
Case 8-19-75516-ast Doci12_ Filed 09/25/19 Entered 09/25/19 16:26:37

Fill in this information to identify your case:

Debtor 4 DEANNA M GREEN

First Name Middle Name Last Name

 

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court forthe: EASTERN DISTRICT OF NEW YORK

 

Case number
(if known) O Check if this is an
amended filing

 

 

 

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy 4/19

 

Be as complete and accurate as possible. If two married people are filing together, both are equaily responsible for suppiying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

GERSHEE Give Details About Your Marital Status and Where You Lived Before

1... What is your current marital status?

M@ Married
1 Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

M No
O Yes. List all of the places you lived in the fast 3 years. Do not include where you live now.

 

 

 

 

 

 

 

 

 

‘Pebtor 2 Prior Addres

   

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, idaho, Louisiana, Nevada, New Mexico, Puerto Rica, Texas, Washington and Wisconsin.)

No
Ol Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

eae Explain the Sources of Your Income

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Filf in the total amount of income you received from all jobs and all businesses, including part-time activities.
if you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.
Cl No
M@ Yes. Fill in the details.

 
  
 
  

 

 

   

 

 

 

 

 

 

Sources c
‘Check all that ap
Z Be |
From January 1 of current year until gy Wages, commissions, $66,000.00 CO Wages, commissions,
the date you filed for bankruptcy: bonuses, tips bonuses, tips
C Operating a business 2 Operating a business
Official Form 107 Statement of Financiat Affairs for Individuals Filing for Bankruptcy page 4

Software Copyright (c} 1995-2019 Best Case, LLC - www.bestcase.com Best Case Bankruptcy

 
Case 8-19-75516-ast Doci12_ Filed 09/25/19 Entered 09/25/19 16:26:37

Debtor1 DEANNA M GREEN Case number (if known}

 

 

 

 

For last calendar year: Hwa isc $75,806.00 oO Wages, commissions,
ges, commissions, ;
(January 1 to December 31, 2018 ) bonuses, tips bonuses, tips
C1 Operating a business CO Operating a business
For the calendar year before that: lM Wages, commissions, $52,168.00 [1 Wages, commissions,
(January 1 to December 31, 2017 ) bonuses, tips bonuses, tips
C Operating a business oO Operating a business

 

§ Did you receive any other income during this year or the two previous calendar years?
Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unernployment,
and other public benefit payments; pensions; rental incorne; interest, dividends; money collacted from lawsuits; royalties; and gambling and lottery
winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the grass income from each source separately. Do not include income that you listed in line 4.

M No
Ol Yes. Fill in the details.

 

 

 

 

 

 

List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

Wo. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. 8 101(8) as “incurred by an
individual primarily for a personal, family, or household purpose.”

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

Ol No. Goto line 7.

Cl Yes List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
not include payments ta an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/22 and every 3. years after that for cases filed on or afier the date of adjustment.

M Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptey, did you pay any creditor a total of $600 or more?

MeNo. Goto line 7.

O] Yes —_List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
attorney for this bankruptcy case.

 

 

Official Farm 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 2

Software Copyright (c) 1996-2019 Best Case, LLC - www. bestcase.com ast Case Bankruptcy

 
Case 8-19-75516-ast Doci12_ Filed 09/25/19 Entered 09/25/19 16:26:37

Debtor1 DEANNA M GREEN Case number (if known)

 

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
insiders include your relatives; any general partners: relatives of any general partners; partnerships of which you are a general partner; corporations
of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and

alimony.
M No
O Yes. List all payments te an insider.

  
 

  

I id Add .

 

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
insider?
Include payments on debts guaranteed or cosigned by an insider.
M@ No

C Yes. List all payments to an insider

     
 

GER ee Identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
modifications, and contract disputes.

O No

      

 

 

 

 

A eee a
TD Bank USA NA v. Deanna M. Collection. ist District Suffolk MI Pending
Green 3105 Veterans Memorial HW 1] op appeal
CV-003801 -17CE Ronkonkoma, NY 11779 Oe
oncluded
LI Anesthesia Physicians v. Collection 1st District Suffolk M@ Pending
Deanna M Green 3105 Veterans Memorial Hw OC on appeal
CV-001116-17CE Ronkonkoma, NY 11779 O Concluded
LVNV Funding LLC v. Deanna M Collection 2nd District Suffolk M@ Pending
Green Oo
CV-051330-17BA Oo Concluded
LI Anesthesia Physicians v. Collection 1st District Suffolk ® Pending
Deanna M Green 3105 Veterans Memorial Hw C1 on appeal
CV-005704-17CE Ronkonkoma, NY 11779 O concluded !

 

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and fill in the details below.

 

Mi No. Go to line 11.
C) Yes. Fill in the information below.

   

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy

page 3

Software Copyright (c} 1996-2019 Best Case, LLC - www.bestcase.com Best Case Bankruptcy

 
Case 8-19-75516-ast Doci12_ Filed 09/25/19 Entered 09/25/19 16:26:37

Dedtor+ DEANNA M GREEN Case number (if krawn}

 

 

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

HB No
Ol Yes. Fill in the details.

 

12. Within 4 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
court-appointed receiver, a custodian, or another official?

Ho No
O Yes

List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $660 per person?
MB oNo

[1 Yes. Fillin the details for each gift.
él th alt

            
    

§ (Numbe
List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
or gambling?

M No
C1 Yes. Fill in the details.

 

List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
consulted about seeking bankruptcy or preparing a bankruptcy petition?
Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

@ No
O Yes. Fill in the details.

 

Official Form 107 Statement of Financial Affairs for Individuais Filing for Bankruptcy page 4 :

Software Gopyright (c} 1895-2019 Best Case, LLC - www. bestcase.com Sest Case Bankruptcy

 
Case 8-19-75516-ast Doci12_ Filed 09/25/19 Entered 09/25/19 16:26:37

Debtori DEANNA M GREEN Case number (if known)

 

 

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you fisted on line 16.

M@ No
CO) Yes. Fill in the details.

 

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
include gifts and transfers that you have already listed on this statement.

M@ No
Ol Yes. Fillin the details.

 

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
beneficiary? (These are often called assef-profection devices.)

@ No
Yes. Fillin the details.

aos

 

List of Certain Financial Accounts, instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments heid in your name, or for your benefit, closed,
sold, moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
houses, pension funds, cooperatives, associations, and other financial institutions.

M@ No
C1 sYes. Fill in the details.

 

' 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
cash, or other valuables?

M@ No
[] Yes. Fill in the details.

i

 

  

 

 

 

 

 

 

 

 

 

 

1s

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

He No
CO séYes. Fill in the details.

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 5

Software Copyright (c) 1895-2019 Best Case, LLC - www bestcase.com Best Case Bankruptcy

 
Case 8-19-75516-ast Doci12_ Filed 09/25/19 Entered 09/25/19 16:26:37

Debtor1 DEANNA M GREEN Case number (if known)

 

 

Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
for someone.

M No
O) Yes. Fill in the details.

     
 

Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

Ho oEnvironmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
regulations controlling the cleanup of these substances, wastes, or material.

Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
to own, operate, or utilize it, including disposal sites.

MH Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentiatly liable under or in violation of an environmental law?

He No
CO Yes. Fill in the details.

‘Name of site.
Address (Numb

 

  
 

 

ber, Street, City, Stateand kK
aS “ ee Sak - i i NS SE z 3

 

srimental unit nyirohmhental law. ye

  

 

 

 

 

 

 

 

25. Have you notified any governmental unit of any release of hazardous material?

HM No
O Yes. Fill in the details.

      

26. Have you been a party in any judicial or administrative proceeding under any environmental law? inciude settlements and orders.

a No /
C] Yes. Fill in the details.
2 Title

     

 

 

Give Details About Your Business or Connections te Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
QA sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
OA member of a limited liability company (LLC) or limited liability partnership (LLP)
OA pariner ina partnership
O An officer, director, or managing executive of a corporation

0 An owner of at least 5% of the voting or equity securities of a corporation

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 6

Sattware Copyright (c) 1995-2019 Best Case, LLC - www.bestcase.com Best Case Bankruptcy

 
Case 8-19-75516-ast Doci12_ Filed 09/25/19 Entered 09/25/19 16:26:37

Debtor’ DEANNA M GREEN Case number ¢f known)

 

 

No. None of the above applies. Go to Part 12.

O Yes. Check all that apply above and fill in the details below for each business.

Nai 000] Dasirine tHe ature or the's

       

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

HM No
[i Yes. Fill in the details below.

sented ee ren
a ae

   
 

i{Number, Street, City, State an
Ciera Sign Below

| have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the answers
are frue and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1619, and 3571.

may raf i chon Signature of Debtor 2

Signature of Debtor 1
Date ¢, | OSP VOILA Date
l Vv

Did you attach additional pages te Your Statement of Financial Affairs for individuals Filing for Bankruptcy (Official Form 107}?
MENo

 

 

 

Ol Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

HNo

0 Yes. Name of Person . Attach the Bankrupicy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 7

|
Software Copyright (c) 1996-2019 Best Case, LLC - www. bestcase.com Best Case Bankruptcy
Case 8-19-75516-ast Doci12_ Filed 09/25/19 Entered 09/25/19 16:26:37

Fillin this information to identify your case:

 

 

Debtor 1 DEANNA M GREEN

First Name Middle Name Last Name
Debtor 2
(Spouse if, filing) First Name Middie Name Last Name

 

United States Bankruptcy Court forthe: EASTERN DISTRICT OF NEW YORK

 

Case number
(if known) OO Check if this is an
amended filing

 

 

Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7 125

If you are an individual filing under chapter 7, you must fill out this form if:
@ creditors have claims secured by your property, or

a you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors ycu list
on the form

If {wo married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
sign and date the form.

Be as complete and accurate as possibie. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
information below.

 

   

Creditor's Bank of America N.A. Wl Surrender the property. HENo
name: Ci Retain the property and redeem it.

. Ci Retain the property and enter into a O1 Yes
Description of 20 Chestnut Street Islip, NY Reaffirmation Agreement
property 11751-3507 Suffolk County C2] Retain the property and [explain]:

securing debt:

 

 

List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 1066), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p){2}.

 

Lessors name: O Ne

Description of leased

Property: O Yes

Lessor's name: Ol woe

Description of leased

Property: Cl Yes

Lessor's name: O Ne

Official Form 108 Statement of Intention for individuals Filing Under Chapter 7 page 1

Software Copyright (c) 1996-2019 Bast Case, LLC - www.bestcase.cam Best Case Bankruptcy

 
Case 8-19-75516-ast Doci12_ Filed 09/25/19 Entered 09/25/19 16:26:37

Debtor1 DEANNA M GREEN Case number (if known)

 

Description of leased
Property:

Lessor’s name:
Description of leased
Property:

Lessor’s name:
Description of leased
Property:

Lessor's name:
Description of leased
Property:

Lessor's name:
Description of leased
Property:

Sign Below

 

0 Yes
O No
O Yes
OO No
C Yes
O No
O Yes
O Ne

C Yes

Under penalty of perjury, | declare that | have indicated my intention about any property of my estate that secures a debt and any personal

property that is subject to an unexpired lease.

 

x Gen nih \ Ge Xx
D M GREEN Signature of Debtor 2

Signature of Debtor 1

Date os)r0 l SG Date

 

 

Official Form 108 Statement of Intention for Individuals Filing Under Chapter 7

Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com

page 2

Best Gase Bankruptcy

 

 
Case 8-19-75516-ast Doci12_ Filed 09/25/19 Entered 09/25/19 16:26:37

Fill in this information to identify your case:

 

Check one box only as directed in this form and in Form

ser Roles] em

 

Debtor 4 DEANNA M GREEN

 

Debtor 2 EF 1. There is no presumption of abuse
{Spouse, if filing}

@ 2 The caiculation to determine if a presumption of abuse

applies will be made under Chapter 7 Means Test
Calculation (Official Form 1224-2).

United States Bankruptcy Court forthe: Eastern District of New York

 

Case number
(if known)

 

LC 3. The Means Test does not apply now because of
qualified military service but it could apply later.

 

0 Check if this is an amended filing

Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income 12115

 

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). if you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

a a Caiculate Your Current Monthly income

 

1. What is your marital and filing status? Check one only.
0 Not married. Fill out Column A, lines 2-11.
OO Married and your spouse is filing with you. Fill out both Columns A and 8, lines 2-11.
Mi Married and your spouse is NOT filing with you. You and your spouse are:

@ Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

C3 Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that appiies or that you and your spouse are
living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7}(B).

   
  

iy

2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all

 

payroll deductions}. $ 6,000.00 ¢ 5,000.00
3. Alimony and maintenance payments. Do not include payments from a spouse if
Column B is filled in. $ 0.00 $§ 0.00

 

4. All amounts from any source which are regularly paid for household expenses
of you or your dependents, including child support. Include reguiar contributions
from an unmarried partner, members of your household, your dependents, parenis,
and roommates. Include regular contributions from a spouse only if Column B is not
filled in. Do not include payments you listed on line 3. $ 0.00 $ 0.00

5. Net income from operating a business, profession, or farm

 

Gross receipts (before all deductions) $ 0.00
Ordinary and necessary operating expenses -$ 0.00
Net monthiy income from a business, profession, or farm $ 0.00 Copy here -> $ 0.00 «6$ 0.00

 

6. Net income from rental and other real property

Gross receipts (before all deductions}

Ordinary and necessary operating expenses
Net monthly income from rental or other real property  $ 0.00 Copy here ->$ 0.00 «6$ 0.00
$ 0.00 $ 0.00

 

7. Interest, dividends, and royalties

 

 

 

 

Official Form 1224-1 Chapter 7 Statement of Your Current Monthly Income page t
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com Best Case Bankruptcy

 
Case 8-19-75516-ast Doci12_ Filed 09/25/19 Entered 09/25/19 16:26:37

Debtor 1 DEANNA M GREEN Case number (if Anown)

 

 

 

 

8. Unemployment compensation $ 0.00 $ ) 0.00

Do not enter the amount if you contend that the amount received was a benefit under
the Social Security Act. Instead, list it here:

 

 

 

Fer you sevenes 0.00

For your spouse $ 0.00

9. Pension or retirement income. Do not include any amount received that was a
benefit under the Social Security Act. $ 0.00 $ 0.00

 

40. Income from all other sources not listed above. Specify the source and amount.
Do not include any benefits received under the Sacial Security Act or payments
received as a victim of a war crime, a crime against humanity, or international or
domestic terrorism. If necessary, list other sources on a separate page and put the

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

total below.
3 0.00 $ 0.00
5 0.00 §$ 0.00
Total amounts from separate pages, if any. + §$ 0.00 $ 9.00
11, Calculate your totai current monthly income. Add lines 2 through 10 for + _
each column. Then add the total for Column A to the totat for Column B. $ 6,000.00 $ 5,000.00 §=$ 11,000.00
Total current monthly
income
Determine Whether the Means Test Applies to You
12. Caiculate your current monthly income for the year, Follow these steps:
12a. Copy your total current monthly income from fine 11 Copy line 11 here=> $ 41,000.00
Multiply by 12 (the number of months in a year) x 12
12b. The result is your annual income for this part of the form 12b.}¢ 132,000.00

 

 

 

13. Calculate the median family income that applies to you. Follow these steps:

Fill in the state in which you live.
Fill in the number of people in your household. [3 |

 

Fill in the median family income for your state and size of household. 13. |$ 83,887.00

To find a list of applicable median income amounts, go online using the link specified in the separate instructions

 

 

 

for this form. This list may also be available at the bankruptcy clerk's office.

14. How do the lines compare?

14a. [1 Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
Go to Part 3.

14b. ME Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 722A-2.
Go to Part 3 and fill out Form 1224-2.

Sign Below

By signing here, | declare under pene of perjury that the information on this statement and in any attachments is true and correct.

btor 1

ate Signatur Sivite

ar Ont
If you checked line 14a, do NOT fill out or file Form 1224-2.

lf you checked line 14b, fill out Form 1224-2 and file it with this form.

 

 

 

 

 

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly income page 2

Software Copyright {c} 1996-2019 Best Case, {LC - www. bestcase.com Best Case Bankruptcy

 
Case 8-19-75516-ast Doci12_ Filed 09/25/19 Entered 09/25/19 16:26:37

 

Fill in this information to identify your case: (Ol atate an ats) appropriate box as directed in

lines 40 or 42:

  

Debtor 1 DEANNA M GREEN

 

 

According to the calculations required by this
Debtor 2 Statement:
(Spouse, if filing}

 

. . a | 4. There is no presumption of abuse.
United States Bankruptcy Court for the: Eastern District of New York

 

Case number CI 2. There is a presumption of abuse.

(if known)

 

 

OC Check if this is an amended filing

Official Form 122A - 2
Chapter 7 Means Test Calculation 04/19

To fill out this form, you will need your completed copy of Chapter 7 Statement of Your Current Monthly income (Official Form 122A-1}.

 

 

Be as complete and accuraie as possible. If fwo married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form, Include the line number to which additional information applies. On the top any
additional pages, write your name and case number (if known).

Part 1: | Determine Your Adjusted income

1. Copy your total current monthly income. Copy line 11 from Official Form 122A-1 here=>........ $ 11,000.00

2. Did you fill out Column B in Part 1 of Form 1224-1?
C1 No. Fill in $0 for the total on line 3.

M@ Yes. Is your spouse Filing with you?

HB No. Go to line 3.
O Yes. Fill in $0 for the total on line 3.

3. Adjust your current monthly income by subtracting any part of your spouse's Income not used to pay for the
household expenses of you or your dependents. Follow these steps:

On fine 11, Column B of Form 1224-1, was any amount of the income you reparted for your spouse NOT regularly used for the household
expenses of you or your dependents?

fi Ne. Fill in 0 for the total on line 3.

CO Yes. Fill in the information betow:

 

  

 

 

 

 

 

 

 

 

 

 

 

 

$
$
Total. $¢ 0,00

Copy total here=>.. ~¢ 0.00
|
4, Adjust your current monthly income, Subtract line 3 from line 1. $ —__ 11,000.00 |
|
i
Official Form 1224-2 Chapter 7 Means Test Calculation page 1 ;

Software Copyright (c) 1996-2019 Best Case, LLC - www. bestease.com Best Case Bankruptcy
Case 8-19-75516-ast Doci12_ Filed 09/25/19 Entered 09/25/19 16:26:37

Debtor 4 DEANNA M GREEN Case number (if knewn)

 

 

Calculate Your Deductions from Your Income

 

The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts
to answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate
instructions for this form. This information may also be available at the bankruptcy clerk's office.

Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of
your actual expenses if they are higher than the standards. Do not deduct any amounts that you subtracted fro your spouse's
income in line 3 and do not deduct any operating expenses that you subtracted from in income in lines 5 and 6 of form 122A-1.

if your expenses differ from month to month, enter the average expense.

Whenever this part of the from refers to you, it means both you and your spouse if Column B of Form 122A-1 is filled in.

5. The number of people used in determining your deductions from income

 

Fill in the number of people who could be claimed as exemptions on your federal income tax return,
plus the number of any additional dependents whom you support. This number may be different from 3
the number of people in your household.

 

 

 

 

6. Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National
Standards, fill in the dollar amount for food, clothing, and other items. $ 1,800.00

7. Out-of-pocket health care allowance: Using the number of peaple you entered in line 5 and the IRS National Standards, fill in
the dollar amount for out-of-pocket health care. The number of peoole is split into two categories--people who are under 65 and
people who are 65 or older--because older people have a higher IRS allowance for health care costs. If your actual expenses are
higher than this IRS amount, you may deduct the additional amount on line 22.

 

7a. Out-of-pocket health care allowance per person $ 55.00
7b. Number of people who are under 65 Xx 2
7c. Subtotal. Multiply line 7a by line 7b. $ 110.00 Copy here=> § 110.00

 

 

 

 

 

 

 

 

 

 

 

 

7d. Out-of-pocket health care allowance per persen $ 114.60

ve. Number of people who are 65 or older x 4

7f. Subtotal. Multiply line 7d by line 7e. $ 114.06 Copy here=> = +$ 414.00

7g. Total. Addline 7candline 7Fo $ 224.00 Copy total here=> | $ 224.00
Official Form 1224-2 Chapter 7 Means Test Calculation page 2

Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com Best Case Bankruptcy

 
Case 8-19-75516-ast Doci12_ Filed 09/25/19 Entered 09/25/19 16:26:37

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor1 DEANNA M GREEN , Case number (if known)
Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
bankruptcy purposes into two parts:
Hi Housing and utilities - Insurance and operating expenses
a Housing and utilities - Mortgage or rent expenses
To answer the questions in lines 8-9, use the U.S. Trustee Program chart.
Te find the chart, go online using the link specified in the separate instructions for this form.
This chart may also be available at the bankruptcy clerk's office.
8. Housing and utilities - Insurance and operating expenses: Using the number of people you entered in fine 5, fil
in the dollar amount listed for your county for insurance and operating expenses. 0... eens 1,250.00
9. Housing and utilities - Mortgage or rent expenses:
9a. Using the number of people you entered in line 5, fill in the dollar amount
listed for your county for mortgage or rent expenses... ee $ 2,437.00
9b. Total average monthly payment for all mortgages and other debts secured by your home.
To calculate the total average monthly payment, add all amounts that are
contractually due to each secured creditor in the 60 months after you file
for bankruptcy. Then divide by 60.
Bank of America N.A. $ 2,800.00
Copy Repeat this
it
Total average monthly payment =| $ 2,800.00 jhere=> -$ 2,800.00 ire asa
9c. Net mortgage or rent expense.
Subtract line 9b (fofai average monthly payment) from line 9a (mortgage Copy
or rent expense). if this amount is less than $0, enter $0. 0... $ 0.00 here=> $ 0.00
10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect and 0
affects the calculation of your monthly expenses, fill in any additional amount you claim. 0.0
Explain why:
11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.
C1 0. Go to line 14.
H 1. Go to line 12.
D1 2 or more. Go te line 12.
12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the
operating expenses, fill in the Operating Cosis that apply for your Census region or metropolitan statistical area. $ 319.00
Official Form 1224-2 Chapter 7 Means Test Calculation page 3

Software Copyright (c) 1996-2019 Best Case, LLC - waw.bestcase.com

Best Case Bankruptcy

 
Case 8-19-75516-ast Doci12_ Filed 09/25/19 Entered 09/25/19 16:26:37

Debtor 1 DEAN NA M GREEN , Case number (if known)

 

 

 

13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each vehicle below.
You may not claim the expense if you do not make any loan or lease payments on the vehicle. In addition, you may not claim the expense for
more than two vehicles.

@ Describe Vehicle 1:

 

 

13a. Ownership or easing costs using IRS Local Standard... ccs ereeeeseeneees $ 508.00

13b. Average monthly payment for all debts secured by Vehicle 1.
Do not inctude costs for leased vehicles.

To calculate the average monthly payment here and on fine 13e, add all amounts that
are contractually due to each secured creditor in the 60 months after you filed for
bankruptcy. Then divide by 60.

 

-NONE- $

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Copy Repeat this
Total Average Monthly Payment =| $ 0.00 /nere=> -$ 0.00 ines
13c. Net Vehicle 1 ownership or lease expense copy nt
Subtract line 13b from line 13a. if this amount is less than $0, enter $0. expense
$ 508.00 here => $ 508.00
Describe Vehicle 2:
13d. Ownership or leasing costs using IRS Local Standard... 2.0. eee rere treneneene eee $ 0.00
13e. Average monthly payment for all debts secured by Vehicle 2. Do nat include costs for
leased vehicles.
Copy Repeat this
Total Average Monthly Payment | $ here $ 0.00 fea
13f. Net Vehicle 2 ownership or lease expense vopy ne
Subtract line 13¢ from fine 13d. if this amount is less than $0, enter $0... expense
$ 0.00 here => § 0.00

 

- 14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Pubfic
Transportation expense allowance regardless of whether you use public transportation. 0.00

15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may
also deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may
nat claim more than the IRS Local Standard for Public Transportation. $ 217.00

 

 

 

Official Form 122A-2 Chapter 7 Means Test Calculation page 4
Software Capyright (c} 1886-2019 Best Case, LLC - www. besicase.com Best Case Bankruptcy
Case 8-19-75516-ast Doci12_ Filed 09/25/19 Entered 09/25/19 16:26:37

Debtr1 DEANNA M GREEN Case number (if known)

 

 

 

16. Taxes: The total monthly amount that you will actually owe for federal, state and local taxes, such as income taxes,
self-employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from
your pay for these taxes. However, if you expect fo receive a tax refund, you must divide the expected refund by 12
and subtract that number from the total monthly amount that is withheld te pay for taxes.

Do not include real estate, sales, or use taxes. 3 3,234.00

17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement
contributions, union dues, and uniform costs.

Do not include amounts that are not required by your job, such as veluntary 401(k) contributions or payroll savings. $ 0.00
18. Life Insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are

filing together, include payments that you make for your spouse's term life insurance. Do not include premiums for life

insurance on your dependents, for a non-filing spouse's fife insurance, or fer any form of life insurance other than
term. $ 40.00

19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or
administrative agency, such as spousal or child support payments.

Do not include payments on past due obligations for spousat or child support. You will list these obligations in line 35. $ 0.00

20. Education: The total monthly amount that you pay for education that is either required:
i as a condition for your job, or

Mi for your physicaily or mentally chailenged dependent chiid if no public education is available for similar services. $ 0.00

21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
Do not include payments for any elementary or secondary school education. $ 0.00

22. Additionai health care expenses, excluding insurance costs: The monthly amount that you pay for health care
that is required for the health and welfare of you er your dependents and that is not reimbursed by insurance or paid
by a heaith savings account. Include only the amount that is mare than the total entered in line 7.

Payments for health insurance or health savings accounts should be listed only in line 25. $ 236.00
23. Optional telephone and telephone services: The total monthly amount that you pay for telecommunication services
for you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell

phone service, to the extent necessary for your health and welfare or that of your dependents or for the production of
income, if it is not reimbursed by your employer.

Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment

 

expenses, such as those reported on fine 5 of Official Form 122A-1, or any amount you previously deducted. + 0.00
24. Add all of the expenses allowed under the IRS expense allowances. $ 7,928.00
Add lines 6 through 23.

 

 

 

 

 

 

Official Form 1224-2 Chapter 7 Means Test Calculation page §
Software Copyright (c} 1995-2019 Best Case, LLC - www.bestcase.com Best Case Bankruptcy

 
Case 8-19-75516-ast Doci12_ Filed 09/25/19 Entered 09/25/19 16:26:37

Debtor 1 DEANNA M GREEN Case number (if knawn)

 

 

 
   

25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or
your dependents.

 

Health insurance $ 0.00
Disability insurance $ 0.00
Health savings account +$ 0.00
Total $ 0.00 Copytotalhere=> $ 0.00

 

 

 

Do you actually spend this total amount?

Oo No. How much do you actually spend?
a Yes $

26. Continued contributions to the care of household or family members. The actual monthly expenses that you will
continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of
your household or member of your immediate family who is unable to pay for such expenses. These expenses may
include contributions to an account of a qualified ABLE program. 26 U.S.C.§ 529A(b}. $ 0.00

27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the

safety of you and your family under the Family Viclence Prevention and Services Act or other federal laws that apply.

By law, the court must keep the nature of these expenses confidential. $ 0.00
28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on

line 8.

If you believe that you have home energy costs that are more than the home energy costs included in expenses on line
8, then fill in the excess amount of home energy costs.

You must give your case trustee documentation of your actual expenses, and you must show that the additional
amount claimed is reasonable and necessary. $ 0.00

29. Education expenses for dependent children who are younger than 18. The monthly expenses {not more than
$170.83* per child) that you pay for your dependent children who are younger than 18 years old to attend a private or
public elementary or secondary school.

You must give your case trustee documentation of your actual expenses, and you must explain why the amount
claimed is reasonable and necessary and not already accounted for in lines 6-23.

* Subject to adjustment on 4/01/22, and every 3 years after that for cases begun on or after the date of adjustment. $ 0.00

30. Additional food and clothing expense. The monthly amount by which your actual foad and clothing expenses are
higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more
than 5% of the food and clothing allowances in the IRS National Standards.

To find a chart showing the maximum additional allowance, go online using the link specified in the separate
instructions for this form. This chart may also be available at the bankruptcy clerk's office.

 

You must show that the additional amount claimed is reasonable and necessary. $ 48.00
31. Continuing charitable contributions. The amount that you will continue to cantribute in the form of cash or financial

instruments to a religious or charitable organization. 26 U.S.C, § 170(c)(1)-(2). +$ 8.00
32. Add ail of the additional expense deductions. $48.00

Add lines 25 through 37.

 

 

 

 

 

 

Official Form 1224-2 Chapter 7 Means Test Calculation page 6
Software Copyright (c) 1996-2019 Best Case, LLC - www. bestcase.com Bast Case Bankruptcy
Case 8-19-75516-ast Doci12_ Filed 09/25/19 Entered 09/25/19 16:26:37

Debtor 1 DEANNA M GREEN ' Case number (if known)

 

 

 

33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
loans, and other secured debt, fill in lines 33a through 33e.

To calculate the total average monthly payment, add all amounts that are contractually due to each secured
creditor in the 60 months after you file for bankruptey. Then divide by 60.

Mortgages on your home:

 

 

 

 

33a. CopylineSbhere - _ . => $ 2,800.00
Loans on your first two vehicles:

33b. Copy line 13b here =>  § 0.00

33c. Copy line 13e here => $ 0.00

33d

 

List other secured debts:

   

   

 

 

 

 

CM No
-~NONE- O Yes $
O no
O Yes $
O No
C] Yes +3
Copy
total
33e. Total average monthly payment. Add lines 33a through 33d 0 $ 2,800.00 | parez> $ 2,800.00

 

 

 

34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
or other property necessary for your support or the support of your dependents?

[] No. Go to fine 35.

M Yes. State any amount that you must pay to a creditor, in addition to the payments
listed in line 33, te keep possession of your property (called the cure amount.
Next, divide by 60 and fill in the information below.

 
         

20 Chestnut Street islip, NY 11751-3507
Bank of America N.A. Suffolk County $ 56,000.00 -go= ¢ 933.33

+60= $
$ +6054

 

 

 

 

Copy
total

Total § 933.33 |e $ 933.33

 

 

 

35. Do you owe any priority claims such as a priority tax, child support, or alimony - that
are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.

HM No. Goto line 36.

O Yes. Fill in the totat amount of all of these priority claims. Do not include current or
ongoing priority claims, such as those you listed in line 19.

Total amount of all past-due priority claims $ 0.00 +60= $ 0.00

 

 

 

Official Form 1224-2 Chapter 7 Means Test Calculation page 7
Software Copyright (c} 1996-2019 Best Case, LLC - www.bestcase.com Best Case Bankruptcy

 
Case 8-19-75516-ast Doci12_ Filed 09/25/19 Entered 09/25/19 16:26:37

Debir1 DEANNA M GREEN

 

Case number (if known}

 

 

MiNo. Go toline 37.
0) Yes. Fill in the following information.

{for all other districts}.

be available at the bankruptcy clerk's office.

37. Add ali of the deductions for debt payment.
Add lines 33e¢ through 36.

38. Add all of the allowed deductions.

Copy line 24, Aff of the expenses allowed under IRS

36. Are you eligible to file a case under Chapter 13? 11 U.S.C. § 109(e).
For more information, go online using the link for Bankruptcy Basics specified in the separate
instructions for this form. Bankruptcy Basics may also be available at the bankruptcy clerk's office.

Projected monthly plan payment if you were filing under Chapter 13

Current multiplier for your district as stated on the list issued by the
Administrative Office of the United States Courts (for districts in Alabama
and North Carolina) or by the Executive Office for United States Trustees

To find a list of district multipliers that includes your district, go online using
the link specified in the separate instructions for this form. This list may also

Average monthly administrative expense if you were filing under Chapter 13

 

 

 

 

 

 

 

Copy total
here=>  $

 

$ 3,733.33

 

 

 

 

 

 

 

 

 

Part 4 if you claim special circumstances. Go to Part 5.

 

 

 

expense allowances $ 7,928.00
Copy line 32, All of the additional expense deductions $ 48.00
Copy line 37, Aff ofthe deductions for debt payment  =—=—ss/s§/ §5— = #8 3,733.33
Total deductions $ 11,709.33 | copy total nere..w=>  § 11,709.33
Determine Whether There is a Presumption of Abuse
39. Calculate monthly disposable income for 69 months
39a. Copy line 4, adjusted current monthly income $ 11,000.00
39b. Copy line 38,Totafdeductions -$ 11,709.33
39c. Monthly disposable income. 11 U.S.C. § 707(b}(2). Copy
Subtract line 39b from fine 39a $ -709,33 here=>$ -709.33
For the next 60 months (5 years) x 60
Copy
39d. Total. Multiply line 39cby60 3Gd. | $ 42,559.80 | pere=> $ -42,559.80

 

 

40. Find out whether there is a presumption of abuse. Check the box that applies:

C1 The line 39d is at least $8,175*, but not more than $13,650*. Go to line 41.

Ml The line 39d is lass than $8,175". On the top of page 1 of this form, check box 1, There is no presumption of abuse. Go to Part 5.

C1 The line 39d is more than $13,650". On the top of page 1 of this form, check box 2, There is a presumption of abuse. You may fill out

*Subject to adjustment on 4/01/22, and every 3 years after that for cases filed on or after the date of adjustment.

 

 

 

 

 

 

Official Form 122A-2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com

Chapter 7 Means Test Calculation

page 8
Best Case Bankrupicy

 
Case 8-19-75516-ast Doci12_ Filed 09/25/19 Entered 09/25/19 16:26:37

Debtor 1 DEANNA M GREEN Case number (if known)

 

 

41. 41a. Fill in the amount of your total nonpriority unsecured debt. If you filled out
A Summary of Your Assets and Liabilities and Certain Statistical Information
Schedules (Official Form 106Sum), you may refer ta line 3b on that form.

 

 

Cop
41b. 25% or your total nonpriority unsecured debt. 11 U.S.C. § 707(b)(2MA)((I) |S  - homes $

Multiply line 41a by 0.25

 

 

 

 

 

 

42. Determine whether the income you have i/eft over after subtracting all allowed deductions is enough to pay
25% of your unsecured, nonpriority debt.
Check the box that applies:

C1 Line 39d is less than line 41b. On the top of page 1 of this form, check box 1, There is no presumption of abuse.
Go to Part 5.

0 Line 39d is equal to or more than line 41b. On the top of page 1 of this form, check box 2, There is a
presumption of abuse. You may fill out Part 4 if you claim special circumstances. Then go to Part 5.

Give Details About Special Circumstances

 

43. Do you have any special circumstances that justify additional expenses or adjustments of current monthly income for which there is no
reasonable alternative? 11 U.S.C. § 707(b)(2)(B).

M@ No. Goto Part 5.

C1] Yes. Fill in the following information. All figures should reflect your average monthly expense or income adjustment for each
item. You may include expenses you listed in line 25.

You must give a detailed explanation of the special circumstances that make the expenses or income adjustments
necessary and reasonable. You must also give your case trustee documentation of your actual expenses or income
adjustments.

 

 

 

 

$
$
$
$

 

oe Sign Below

By signing here, | declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

x ~

Signaturejof tor 1
Date ee {9

MM / sos}

 

 

 

 

Official Form 1224-2 Chapter 7 Means Test Calculation page 9
Software Copyright (c) 1985-2019 Best Case, LLC - www.bestcase.com Best Case Bankruptcy
Case 8-19-75516-ast Doc12 Filed 09/25/19 Entered 09/25/19 16:26:37

Notice Required by 171 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)

 

 

This notice is for you if:

You are an individual filing for bankruptcy,
and

Your debts are primarily consumer debts.
Consumer debis are defined in 11 U.S.C.

§ 101(8) as “incurred by an individual
primarily for a personal, family, or

household purpose.”

 

 

Chapter 7: Liquidation

 

$245 filing fee
$75 administrative fee

+ $15 trustee surcharge

 

 

 

The types of bankruptcy that are available to
individuals

Individuals whe meet the qualifications may file under
one of four different chapters of Bankruptcy Cede:

Chapter 7 - Liquidation
Chapter 11 - Reorganization

Chapter 12 - Voluntary repayment plan
for family farmers or
fishermen

Chapter 13 - Voluntary repayment plan
for individuals with regular
income

You should have an attorney review your
decision to file for bankruptcy and the choice of
chapter.

Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)

Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com

$335 total fee

Chapter 7 is for individuals who have financial
difficulty preventing them from paying their debts
and who are willing to allow their nonexempt
property to be used to pay their creditors. The
primary purpose of filing under chapter 7 is to have
your debts discharged. The bankruptcy discharge
relieves you after bankruptcy from having to pay
many of your pre-bankruptcy debts. Exceptions exist
for particular debts, and liens on property may still
be enforced after discharge. For example, a creditor
may have the right to foreclose a home mortgage or
repossess an automobile.

However, if the court finds that you have committed
certain kinds of improper conduct described in the
Bankruptcy Code, the court may deny your
discharge.

You should know that even if you file chapter 7 and
you receive a discharge, some debts are not
discharged under the law. Therefore, you may still
be responsible to pay:

most taxes;

most student loans;

domestic support and property settlement
obligations:

page 1

Best Gase Bankruptcy
Case 8-19-75516-ast Doci12_ Filed 09/25/19 Entered 09/25/19 16:26:37

most fines, penalties, forfeitures, and criminal
restitution obligations; and

certain debts that are not listed in your bankruptcy
papers.

You may also be required to pay debts arising from:
fraud or theft;

fraud or defalcation while acting in breach of
fiduciary capacity;

intentional injuries that you inflicted; and

death or personal injury caused by operating a
motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs.

If your debts are primarily consumer debts, the court
can dismiss your chapter 7 case if it finds that you have
enough income to repay creditors a certain amount.
You must file Chapter 7 Statement of Your Current
Monthly income (Official Form 122A—1) if you are an
individuai filing for bankruptcy under chapter 7. This
form will determine your current monthly income and
compare whether your income is more than the median
income that applies in your state.

if your income is not above the median for your state,
you will not have to complete the other chapter 7 form,
the Chapter 7 Means Test Cajculation (Official Form
422A—2).

If your income is above the median for your state, you
must file a second form —the Chapter 7 Means Test
Calculation (Official Form 122A—2). The calculations on
the form— sometimes called the Means Tesi—deduct
from your income living expenses and payments on
certain debts to determine any amount available to pay
unsecured creditors. If

Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)

Software Copyright (c) 1985-2019 Best Case, LLC - www. besicase.com

your income is more than the median income for your
state of residence and family size, depending on the
results of the Means Tes?, the U.S. trustee, bankruptcy
adminisirator, or creditors can file a motion to dismiss
your case under § 707{b) of the Bankruptcy Code. Ifa
motion is filed, the court will decide if your case should
be dismissed. To avoid dismissal, you may choose to
proceed under another chapter of the Bankruptcy
Code.

If you are an individual filing for chapter 7? bankruptcy,
the trustee may sell your property to pay your debts,
subject to your right to exempt the property or a portion
of the proceeds from the sale of the property. The
property, and the proceeds from property that your
bankruptcy trustee sells or liquidates that you are
entitled to, is called exempt property. Exemptions may
enable you to keep your home, a car, clothing, and
household items or to receive some of the proceeds if
the property is sold.

Exemptions are not automatic. To exempt property,
you must list iton Schedule C: The Property You Claim
as Exempt (Official Form 106C). lf you do not list the
property, the trustee may sell it and pay all of the
proceeds to your creditors.

 

Chapter 11: Reorganization

 

$1,167 filing fee

+ $550 administrative fee
$1,717 total fee

 

Chapter 11 is often used for reorganizing a business,
but is also available to individuals. The provisions of
chapter 11 are too complicated to summarize briefly.

page 2

Best Gase Bankrupicy

 

 
Case 8-19-75516-ast Doci12_ Filed 09/25/19 Entered 09/25/19 16:26:37

 

Because bankruptcy can have serious long-term financial and legal consequences, including loss of
your property, you should hire an attorney and carefuily consider all of your options before you file.
Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
and what your options are. !f you do file for bankruptcy, an attorney can help you fill out the forms
properly and protect you, your family, your home, and your possessions.

Although the law allows you to represent yourself in bankruptcy court, you should understand that
many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
or inaction may harm you. If you file without an attorney, you are still responsibie for knowing and

following all of the legal requirements.

You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the

necessary documents.

Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
20 years, or both. 18 U.S.C. §§ 152, 1341, 1549, and 3571.

 

 

 

Chapter 12: Repayment plan for family
farmers or fishermen

 

$200 filing fee
+ $75 administrative fee
$275 total fee

 

Similar to chapter 13, chapter 12 permits family farmers
and fishermen to repay their debts over a period of time
using future earnings and to discharge some debts that
are not paid.

 

Chapter 13: Repayment plan for
individuals with regular
income

 

$235 filing fee
+ $75 administrative fee
$310 total fee

Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in
installments over a period of time and to discharge
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain
doilar amounts set forth in 11 U.S.C. § 109.

Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)

Software Capyright (c) 1996-2019 Best Case, LLC - www. bestcase.com

Under chapter 13, you must file with the court a plan
to repay your creditors all or part of the money that
you owe them, usually using your future earnings. If
the court approves your plan, the court will allow you
to repay your debts, as adjusted by the plan, within 3
years or 5 years, depending on your income and other
factors.

After you make all the payments under your plan,
many of your debts are discharged. The debts that are
not discharged and that you may still be responsible to
pay include:

domestic support obligations,

most student loans,

certain taxes,

debts for fraud or theft,

debts for fraud or defalcation while acting in a
fiduciary capacity,

most criminal fines and restitution obligations,

certain debts that are not listed in your
bankruptcy papers,

certain debts for acts that caused death or
personal injury, and

certain jong-term secured debts.

page 3

Best Case Bankruptcy

 
Case 8-19-75516-ast Doci12_ Filed 09/25/19 Entered 09/25/19 16:26:37

 

Bankruptcy crimes have serious consequences

If you knowingly and fraudulently conceal assets
or make a false oath or statement under penalty
of perjury—either orally or in writing—in
connection with a bankruptcy case, you may be
fined, imprisoned, or both.

All information you supply in connection with a
bankruptcy case is subject to examination by the
Attorney General acting through the Office of the
U.S. Trustee, the Office of the U.S. Attorney, and
other offices and employees of the U.S.
Department of Justice.

Make sure the court has your mailing address

The bankruptcy court sends notices to the mailing
address you list on Voluntary Petition for Individuals
Filing for Bankruptcy (Official Form 101). To ensure
that you receive information about your case,
Bankruptcy Rule 4002 requires that you notify the court
of any changes in your address.

Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010}

Software Copyright (c) 1896-2019 Best Case, LLC - www.bestcase.com

A married couple may file a bankruptcy case
together—calied a joint case. If you file a joint case and
each spouse lists the same mailing address on the
bankruptcy petition, the bankruptcy court generally will
mail you and your spouse one copy of each notice,
unless you file a statement with the court asking that
each spouse receive separate copies.

Understand which services you could receive from
credit counseling agencies

The law generally requires that you receive a credit
counseling briefing from an approved credit counseling
agency. 11 U.S.C. § 109(h). If you are filing a joint
case, both spouses must receive the briefing. With
limited exceptions, you must receive it within the 180
days before you file your bankruptcy petition. This
briefing is usually conducted by telephone or on the
Internet.

In addition, after filing a bankruptcy case, you generally
must complete a financial management instructional
course before you can receive a discharge. If you are
filing a joint case, both spouses must complete the
course.

You can obtain the list of agencies approved to provide
both the briefing and the instructional course from:
http: //justice.gov/ust/eo/hapcpa/ccde/cc_approved.html

 

In Alabama and North Carolina, go to:
http://www. uscourts.gov/FederalCourts/Bankruptey/
BankruptcyResources/ApprovedCredit

AndDebtCounselors.aspx.

 

 

If you do not have access to a computer, the clerk of
the bankruptcy court may be able to help you obtain
the list.

page 4

Best Case Bankruptcy

 
Case 8-19-75516-ast Doci12_ Filed 09/25/19 Entered 09/25/19 16:26:37

B2030 (Form: 2030) (12/15)

United States Bankruptcy Court
Eastern District of New York

Inre DEANNA M GREEN Case No.

 

 

Debtor(s) Chapter 7

 

DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)

1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), E certify that I am the attorney for the above named debtor(s) and that
compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
be rendered on behalf of the debtor(s} in contemplation of or in connection with the bankruptcy case is as follows:

 

 

For legal services, I have agreed to accept $ 2,250.00
Prior to the filing of this statement I have received $ 2,250.00
Balance Due $ 0.00

 

2. The source of the compensation paid to me was:

O Debtor M Other (specify): Debtor's mother

3. The source of compensation to be paid to me is:

@ Debtor CO Other (specify):
4. M@ {have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

Ci Ihave agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;

Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;

Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

(Other provisions as needed]
Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
§22(f)(2)(A) for avoidance of liens on household goods.

BoP

6. By agreement with the debtor(s), the above-disclosed fee does not include the following service:
Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
any other adversary proceeding.

 

CERTIFICATION

I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s} in
this bankruptcy proceeding.

 

 

Date JEFFREY ARLEN SPINNER
Signature of Attorney
JEFFREY ARLEN SPINNER
35 PINELAWN ROAD
SUITE 106E
MELVILLE, NY 11747-3100
{203) 570-6676
retjcc@gmail.com
Name of law firm

 

 

 

 

Software Copyright (c} #996-2019 Best Case, LLG - ww.bestcase. com Best Case Bankruptcy

 
Case 8-19-75516-ast Doci12_ Filed 09/25/19 Entered 09/25/19 16:26:37

United States Bankruptcy Court
Eastern District of New York

Ince _DEANNA M GREEN Case No.

 

 

Debtor(s) Chapter 7

 

VERIFICATION OF CREDITOR MATRIX,

 

The above named debtor(s) or attorney for the debtor(s) hereby verify that the attached matrix (list of
creditors) is true and correct to the best of their knowledge.

pas __ Boshorg mtaan Lo —

Signature-Sf Debior \
Date: glos[w (J

Signatureff Attoméy % ‘
JEFFREY ARLEN SPINNER
JEFFREY ARLEN SPINNER

35 PINELAWN ROAD

SUITE 106E

MELVILLE, NY 11747-3100
(203) 570-6676

 

 

 

 

USBC-44 . Rev. 9/17/98

Software Copyright (c) 1895-2019 Best Case, LLC - www.bestcase.com Best Case Bankruptcy

 

 
Case 8-19-75516-ast Doci12_ Filed 09/25/19 Entered 09/25/19 16:26:37

Allied Interstate
7525 West Campus Road
New Albany, OH 43054-1121

Allied Interstate
7525 West Campus Road
New Albany, OH 43054-1121

AMCA

4 Westchester Plaza
Suite 110

Elmsford, NY 10523

Bank of America N.A.
7105 Corporate Drive
Plano, TX 75024

Capital One Bank N.A,
1500 Capital One Drive
Richmond, VA 23238

Capital One Bank N.A,.
1500 Capital One Drive
Richmend, VA 23238

Capital One Bank NA
1500 Capital One Drive
Richmond, VA 23238

Cavalry SPV I LLC
500 Summit Lake Drive
Suite 400

Valhalla, NY 10595

Convergent Outsourcing
8CQO SW 39th Street
Suite 100

Renton, WA 98057

Genesis Laboratory

192 Route 35 South

Suite 202

Oakhurst, NJ 07755-2715
Case 8-19-75516-ast Doci12_ Filed 09/25/19 Entered 09/25/19 16:26:37

Jason EE. Green
20 Chestnut Street
Islip, NY 11751

JC Penney

c/o SYNCB

PO Box 965009

Orlando, FL 32896-5009

Kohl's
PO Box 3115
Milwaukee, WI 53201

LI Anesthesia Physicians
333 Route 25A

Suite 225

Rocky Point, NY 11778

LI Anesthesia Physicians
333 Route 25A

Suite 225

Rocky Point, NY 11778

LVNV Funding LLC
PO Box 1269
Greenville, SC 29602

Merrick Bank
PO Box 9201
Old Bethpage, NY 11804

Midland Funding LLC
c/o MCM

350 Camino De La Reina
Suite 100

San Diego, CA 92108

Neil Levinbrook Esq.
Levinbrook Law Firm PC
77? Arkay Drive

Suite Cl

Hauppauge, NY 11788

NY¥ Bariatric Group
125 Mineola Avenue
Roslyn Heights, NY 11577

 
Case 8-19-75516-ast Doc12_- Filed 09/25/19 Entered 09/25/19 16:26:37

Portfolio Recovery Assoc
120 Corporate Blvd

Suite 1

Norfelk, VA 23502

Portfolio Recovery Assoc
120 Corporate Blvd

Suite 1

Norfolk, VA 23502

Portfolio Recovery Assoc
120 Corporate Blvd

Suite 1

Norfolk, VA 23502

Savit Collection Agency
PO Box 250
Bast Brunswick, NJ 08816-0250

Selip & Stylianou

PO Box 9004

199 Crossways Park Drive
Woodbury, NY 11797-9004

Sunrise Medical Lab
250 Miller Place
Hicksville, NY 11801

Synchrony Bank
140 Wekiva Springs Road
Longwood, FL 32779

Synchrony Bank
140 Wekiva Springs Road
Longwood, FL 32779

TD Bank USA NA

7000 Target Parkway North
MS-NCB-0464

Brooklyn Park, MN 55445

Weinstein Kaplan & Cohen
1325 Franklin Avenue
Suite 210

Garden City, NY 11530
Case 8-19-75516-ast Doci12_ Filed 09/25/19 Entered 09/25/19 16:26:37

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

STATEMENT PURSUANT TO LOCAL
BANKRUPTCY RULE 1073-2(b)

DEBTOR(S): _DEANNA M GREEN CASE NO.:.

 

 

Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure
concerning Related Cases, to the petitioner's best knowledge, information and belief:

[NOTE: Cases shall be deemed "Related Cases" for purposes of E.D.N.Y. LBR 1073-1 and E.D.N.Y. LBR 1073-2 if the earlier case

was pending at any time within eight years before the filing of the new petition, and the debtors in such cases: (i) are the same; (ii) are
spouses or ex-spouses; (iii) are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partnership; (v} are a
partnership and one or more of its general partners; (vi) are partnerships which share one or more common general partners; or (vii)
have, or within 180 days of the commencement of either of the Related Cases had, an interest in property that was or is included in the
property of another estate under 11 U.S.C. § 541(a).]

O NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.

@ THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:

1. CASE NO.: 8-10-77000-ast JUDGE: DISTRICT/DIVISION: Eastern District of New York
CASE STILL PENDING (Y/N): N - [if closed] Date of closing:

CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above): _Prior Filing 12/28/2010

 

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:

2. CASE NO.: JUDGE: DISTRICT/DIVISION:

CASE STILL PENDING (Y/N): [if closed] Date of closing:

CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

 

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE "A" ("REAL PROPERTY”) WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:

3. CASE NO.: JUDGE: DISTRICT/DIVISION:
CASE STILL PENDING (Y/N): [if closed] Date of closing:
(OVER)

Software Copyright {c) 1996-2019 Best Case, LLC - www. bestcase.com Sest Case Bankrupicy

 
Case 8-19-75516-ast Doci12_ Filed 09/25/19 Entered 09/25/19 16:26:37

DISCLOSURE OF RELATED CASES (cont'd)

CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED [Refer to NOTE above):

 

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE “A” ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:

NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days may not
be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.

TO BE COMPLETED BY DEBTOR/PETITIONER'S ATTORNEY, AS APPLICABLE:

I am admitted to practice in the Eastern District of New York (Y/N): ¥

CERTIFICATION (to be signed by pro se debtor/petitioner or debtor/petitioner's attorney, as applicable):

I certify under penalty of perjyry that the within bankruptcy case is not related to any case now pending or pending at any time, except

as "7 bys on t

el
JEFFREY ARLEN SPINNER

Signature of Debtor's Attorney Signature of Pro Se Debtor/Petitioner
JEFFREY ARLEN SPINNER
35 PINELAWN ROAD
SUITE 106E

MELVILLE, NY 11747-3100
{203) 570-6676

   

 

 

Signature of Pro Se Joint Debtor/Petitioner

 

Mailing Address of Debtor/Petitioner

 

City, State, Zip Code

 

Area Code and Telephone Number
Failure to fully and truthfully provide all information required by the E.D.N.Y. LBR 1073-2 Statement may subject the debtor or any
other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment of a trustee or the
dismissal of the case with prejudice. i

NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may otherwise
result.

USBC-17 Rev.8/1 1/2009
Software Copyright (c} 1996-2019 Best Case, LLC - www. bestcase.com Hest Case Aankruptcy

 

 
Case 8-19-75516-ast

UNITED STATES BANKRUPTCY COURT

EASTERN DISTRICT OF NEW YORK

 

IN RE: DEANNA M GREEN

Debtor(s)

 

Doc 12 Filed 09/25/19 Entered 09/25/19 16:26:37

x Chapter 7

Case No.:

STATEMENT PURSUANT TO LOCAL RULE 2017

 

XK

|, JEFFREY ARLEN SPINNER, an aftorney admitted to practice in this Court, state:

1. That 1am the attorney for the above-named debior(s}) and am fully familiar with the facts herein.

2. That prior to the filing of the petition herein, my firm rendered the following services to the

above-named debtor(s):

Date\Time

Services

 

Initial interview on July 22,
2019 at 6:00p.m., duration

Software Copyright (c) 1996-2019 Best Case, LLG - www.bestcase.com

2.1 hours. Discussed

debtor's financial

situation, foreclosure

action and impending sale, |nitial interview, analysis of financial
reviewed substantial tae

financial doumentation condition, etc.

Petition preparation
startedon July 27, 2019
following additional rview
of documents provided by
Debtor and review and
research of legal actions
filed and pending. Petition
completedon Augquat 2,
2019, total time expended
4.6 hours

Preparation and review of
Bankruptcy petition

3. That my firm will also represent the debtor(s) at the first meeting of creditors.

4. That all services rendered prior to the filing of the petition herein were rendered by my firm.

5. That my usual rate of compensation of bankrupfcy matt fthis type is $ 2,250.00 |

ree Y ARL MM Le

Attar ey for ‘ebtens)
JEFFREY ARLEN SPINNE
35 PINELAWN ROAD
SUITE 106E

MELVILLE, NY 11747-3100
(203) 570-6676
retjcc@gmail.com

Best Case Bankruptcy
